 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 1 of 74 PageID# 488




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division


SHERRY BLACKBURN, WILLIE ROSE,            :
ELWOOD BUMBRAY, GEORGE HENGLE,            :
REGINA NOLTE, JO ANN FALASH,              :              Case No. 3:22-cv-146 (DJN)
JOHN TUCKER, and EMILY MURPHY:            :
on behalf of themselves and all individuals
                                          :
similarly situated,                       :
                                          :
                        Plaintiffs,       :
                                          :
v.                                        :
                                          :
A.C. ISRAEL ENTERPRISES, INC.,            :
d/b/a INGLESIDE INVESTORS, RICHARD        :
INVESTORS, LLC, GREG WARNER,              :
FERRELL CAPITAL, LLC, SEVILLE, LTD.,      :
MONU JOSEPH, JOSEPH INVESTMENT, LLC, :
JOSEPH NPA INVESTMENT, LLC,               :
E OPPORTUNITIES, LLC, SKYE, LLC,          :
CABBAGE CITY, LLC,                        :
KAI INVESTMENTS, LLC, BENJAMIN            :
GRAVLEY, SIGNAL LIGHT, LLC,               :
HYMKEN, LP, GEORGE KELLNER,               :
KELLNER CAPITAL LP, AMIT RAIZADA,         :
SPECTRUM BUSINESS VENTURES, INC.,         :
and RAIZADA GROUP, LLLP,                  :
                                          :
                        Defendants.       :
__________________________________________:

                             FIRST AMENDED COMPLAINT

       Plaintiffs Sherry Blackburn, Willie Rose, Elwood Bumbray, George Hengle, Regina Nolte,

Jo Ann Falash, John Tucker, and Emily Murphy, on behalf of themselves and all individuals

similarly situated, by counsel, and for their First Amended Complaint against Defendants, they

allege as follows:




                                              1
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 2 of 74 PageID# 489




                                         INTRODUCTION

        1.      Four plaintiffs to this lawsuit are parties in Hengle v. Asner, No. 3:19-cv-250 (E.D.

Va.) (Novak, J.), which has been pending before this Court since April 9, 2019. In that case, those

Plaintiffs sued the tribal officials of the Habematolel Pomo of Upper Lake (the “Tribe”), a federally

recognized Native American tribe, as well as two of their non-tribal business partners who created,

developed, aided, and abetted a usurious lending scheme that offered illegal loans with

unconscionable interest rates often exceeding an APR of 900%. That litigation culminated in a

nationwide class settlement requiring the repayment of $39 million dollars by several non-tribal

individuals, as well as the cancellation of more than $450 million dollars of loans by the tribal

lending entities. The Court granted preliminary approval of the settlement on May 12, 2022.

Hengle v. Asner, No. 3:19-cv-250, ECF No. 209. And while that settlement involved several key

participants in the scheme, other major participants could not be identified until discovery

commenced in December 2021.

        2.      As this Court is aware, this litigation involves the tribal lending business model—

“the most recent incarnation of payday lending companies regulation-avoidance.” Nathalie Martin

& Joshua Schwartz, The Alliance Between Payday Lenders and Tribes: Are Both Tribal

Sovereignty and Consumer Protection at Risk?, 69 Wash. & Lee L. Rev. 751, 785 (2012). Under

this model, non-tribal payday lenders and their business partners used Native American tribes to

originate illegal loans in order to facilitate a dubious and legally incorrect claim that the loans were

subject to tribal law and tribal sovereign immunity, not the protections created by state usury and

licensing laws. But as the Fourth Circuit held in the related litigation: “substantive state law applies

to off-reservation conduct,” such as online loans marketed, collected, and paid by consumers in

Virginia. Hengle v. Treppa, 19 F.4th 324, 348 (4th Cir. 2021). And “although the Tribe itself




                                                   2
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 3 of 74 PageID# 490




cannot be sued for its commercial activities,” its members, officers, and business partners “can

be.” Id.

           3.   Through the Hengle litigation, it was determined that additional business partners

and investors knowingly aided, funded, facilitated, and participated in the usurious lending scheme

at issue in this case. As a result of this conduct, Plaintiffs allege that Defendants violated the

Racketeer Influenced and Corrupt Organizations Act (“RICO”), which was expressly enacted “to

seek the eradication of organized crime in the United States,” including loan sharking. Pub. L. 91–

452, § 1. Together with the defendants in Hengle and others, Defendants knowingly maintained

an interest in, participated in the operation of, reinvested in, and conspired with other members of

the enterprise to profit from the usurious loans.

           4.   Plaintiffs also assert class common law claims for unjust enrichment and civil

conspiracy. Because the enterprise’s loans exceeded the usury laws permitted by the laws of all

Plaintiffs’ respective home states, such loans are null and void and neither the lender nor any third

party may collect, obtain, or receive any principal, interest, or charges on the loans. See Va. Code

§ 6.2-1541; Ind. Code § 24-4.5-7-111; Wis. Stat. § 138.06; Cal. Fin. Code § 22750; Ohio Rev.

Code § 1321.02. Accordingly, Plaintiffs seek to recover all amounts paid on their and other class

members’ loans, as well as their costs and attorneys’ fees.

                                         JURISDICTION

           5.   This Court has subject matter jurisdiction pursuant to 18 U.S.C. § 1965 and

28 U.S.C. § 1332(d)(2). Moreover, the Court has supplemental jurisdiction over state law claims

pursuant to 28 U.S.C. § 1367.

           6.   This Court has personal jurisdiction over Defendants because RICO authorizes

nationwide service of process. As a result, personal jurisdiction over a defendant may be exercised



                                                    3
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 4 of 74 PageID# 491




anywhere in the United States so long as it does not violate the Fifth Amendment. ESAB Grp., Inc.

v. Centricut, Inc., 126 F.3d 617 (4th Cir. 1997). Because Defendants are all residents of the United

States and received millions of dollars from loans made in Virginia, the Court has personal

jurisdiction over them under the Fifth Amendment.

       7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events giving rise to Plaintiffs’ claims occurred in Virginia, including in this District

and Division. Venue is also proper in this Court pursuant to 28 U.S.C. § 1965(a) because

Defendants transacted their affairs in Virginia through their participation in a conspiracy and

receipt of millions of dollars from loans made in Virginia. In addition, venue is proper in this

District and Division under the “ends of justice” because the Court has personal jurisdiction over

all Defendants and is already familiar with the legal issues and facts raised in this civil action.

                                             PARTIES

       8.      Plaintiff Sherry Blackburn is a natural person and resident of this Division.

       9.      Plaintiff Willie Rose is a natural person and resident of this District.

       10.     Plaintiff Elwood Bumbray is a natural person and resident of this District.

       11.     Plaintiff George Hengle is a natural person and resident of this Division.

       12.     Plaintiff Regina Nolte is a natural person and resident of Indiana.

       13.     Plaintiff Jo Ann Falash is a natural person and resident of Wisconsin.

       14.     Plaintiff John Tucker is a natural person who is currently residing in Louisiana to

help care for a family member. At all times relevant hereto, Plaintiff Tucker resided in California.

       15.     Plaintiff Emily Murphy is a natural person and resident of Ohio.




                                                  4
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 5 of 74 PageID# 492




       16.     A.C. Israel Enterprises, Inc. d/b/a Ingleside Investors is “a financial holding

company representing the investment interests of the Israel family.” 1 As explained in more detail

below, Ingleside Investors knowingly aided, maintained an interest in, funded, and profited from

the usurious lending scheme through a $4,000,000.00 investment in NPA Investors, LLC, which

was an affiliate of National Performance Agency, LLC (“NPA”). As explained in more detail

below, NPA was a payday lending company that offered short-term, high-interest loans since the

1990s. Around 2012, NPA shifted its payday lending business to the tribal lending model. As part

of this process, NPA initiated agreements with the Tribe to craft, develop, and implement the

usurious lending scheme at issue in this case, which resulted in the creation of Golden Valley

Lending, Inc. (“Golden Valley”), Silver Cloud Financial, Inc. (“Silver Cloud”), and Mountain

Summit Financial, LLC (“Mountain Summit”). Ingleside Investor’s $4,000,000.00 investment and

proceeds stemming therefrom were knowingly used as the capital to make the illegal loans to

consumers through agreements between NPA and the Tribe’s entities. And after the “sale” of NPA

to the Tribe, Ingleside Investors continued to knowingly aid, facilitate, abet, and profit from the

scheme through a promissory note to NPA in an amount over $64,100,000.00, as well as a series

of other interrelated agreements that gave NPA significant influence and control over the lending

operations.

       17.     Upon information and belief, Defendant Richard Investors, LLC is a wholly-owned

subsidiary of Ingleside Investors. Through Richard Investors, Ingleside Investors made its

investment in NPA.

       18.     Defendant Greg Warner is the president of Ingleside Investors. As the firm’s

president, Warner oversees all aspects of its investment and operating activities, including its



1 See Ingleside Investors, Home, http://www.inglesidellc.com (last visited on March 9, 2022).



                                                5
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 6 of 74 PageID# 493




investment activities with NPA. Upon information and belief, Warner participated in Ingleside

Investors’ decision to invest in NPA, knowing that those funds would be used to support its

usurious lending activities. Further, Warner knowingly maintained Ingleside Investors’ investment

despite his knowledge that it aided, abetted, and supported the usurious lending scheme.

       19.     Upon information and belief, at all times relevant hereto, Warner received updates

from NPA’s management related to its investment, distributions, and litigation surrounding the

illegality of the lending product. Warner was also involved and participated in the design of the

initial structure of the scheme.

       20.     Defendant Ferrell Capital, Inc., is a “family office” created to “manage the

financial, business and personal affairs of the Ferrell family,” including its investments in “real

estate, banking,” and “private equity.” As explained in more detail below, Ferrell Capital

knowingly aided, maintained an interest in, funded, and profited from the usurious lending scheme

through a $1,500,000.00 investment in NPA. This $1,500,000.00 investment and proceeds

stemming therefrom were knowingly used as the capital to make the illegal loans to consumers

through agreements between NPA and the Tribe’s entities. And after the “sale” of NPA to the

Tribe, Ferrell Capital continued to knowingly aid, facilitate, abet, and profit from the scheme

through a promissory note to NPA in an amount over $64,100,000.00, as well as a series of other

interrelated agreements that gave NPA significant input and control over the lending operations.

       21.     Upon information and belief, Defendant Seville, LTD is a wholly-owned subsidiary

of Ferrell Capital. Through Seville, Ferrell Capital made its investment in NPA.

       22.     Defendant Monu Joseph is a resident of California. Joseph is the president,

manager, and partial owner of several different entities that invested in NPA, including but not

limited to Joseph Investment, LLC and Joseph NPA Investment, LLC. As explained in more detail



                                                6
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 7 of 74 PageID# 494




below, Joseph knowingly aided, maintained an interest in, funded, and profited from the usurious

lending scheme through substantial investments in NPA and its affiliates. Joseph’s investment was

knowingly used as the capital to make the illegal loans to consumers through agreements between

NPA and the Tribe’s entities. And after the “sale” of NPA to the Tribe, Joseph and his investment

companies knowingly continued to aid, facilitate, and profit from the scheme through a promissory

note to NPA in excess of $64,100,000.00, as well as a series of other interrelated agreements that

gave NPA (and its closely held investors) significant input and control over the lending operations.

Joseph was also involved and participated in the design of the initial structure of the scheme.

       23.     Defendant Joseph Investment, LLC, is one of the companies used by Monu Joseph

to make the substantial investment in NPA. After the “sale” of NPA to the Tribe, Joseph

Investments knowingly continued to aid, facilitate, and profit from the scheme through a

promissory note to NPA in an amount over $64,100,000.00, as well as a series of other interrelated

agreements that gave NPA (and its closely held investors) significant input and control over the

lending operations.

       24.     Upon information and belief, Defendant Joseph NPA Investment, LLC is one of

the companies used by Monu Joseph to make an initial investment in NPA. Upon information and

belief, Joseph NPA Investment’s management (primarily Monu Joseph) decided to invest in NPA,

knowing that those funds would be used to support its usurious lending activities and knowingly

maintained their investment despite its knowledge that it aided, abetted, and supported the usurious

lending scheme.

       25.     Upon information and belief, Defendant E Opportunities, LLC is one of the

companies used by Monu Joseph to make an initial investment in NPA. Upon information and

belief, E Opportunities knowingly aided, maintained an interest in, funded, and profited from the



                                                 7
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 8 of 74 PageID# 495




usurious lending scheme through a $4,505,000.00 investment in NPA. This $4,505,000.00

investment was knowingly used as the capital to make the illegal loans to consumers through

agreements between NPA and the Tribe’s entities. E Opportunities’ management (primarily Monu

Joseph) decided to invest in NPA, knowing that those funds would be used to support its usurious

lending activities and knowingly maintained its investment despite their knowledge that it aided,

abetted, and supported the usurious lending scheme.

       26.     Defendant Skye, LLC is a limited liability company with a principal place of

business at 13006 Russell Street, Overland Park, Kansas 66209. As explained in more detail below,

Skye knowingly aided, maintained an interest in, funded, and profited from the usurious lending

scheme through a $1,000,000.00 investment in NPA. This $1,000,000.00 investment was

knowingly made as the capital to fund the illegal loans to consumers through agreements between

NPA and the Tribe’s entities. And after the “sale” of NPA to the Tribe, Skye continued to

knowingly aid, facilitate, abet, and profit from the scheme through a promissory note to NPA in

an amount over $64,100,000.00, as well as a series of other interrelated agreements that gave NPA

significant input and control over the lending operations.

       27.     Defendant Cabbage City, LLC is a limited liability company with a principal place

of business at 4510 Belleview Avenue, Suite 300, Kansas City, Missouri 64111. As explained in

more detail below, Cabbage City knowingly aided, maintained an interest in, funded, and profited

from the usurious lending scheme through a $4,870,000.00 investment in NPA. This

$4,870,000.00 investment was knowingly as the capital used to make the illegal loans to consumers

through agreements between NPA and the Tribe’s entities. And after the “sale” of NPA to the

Tribe, Cabbage City continued to knowingly aid, facilitate, abet, and profit from the scheme




                                                 8
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 9 of 74 PageID# 496




through a promissory note to NPA in an amount over $64,100,000.00, as well as a series of other

interrelated agreements that gave NPA significant input and control over the lending operations.

       28.     Defendant Kai Investments, LLC is a limited liability company organized under the

laws of Delaware. As explained in more detail below, Kai Investments knowingly aided,

maintained an interest in, funded, and profited from the usurious lending scheme through a

$800,000.00 investment in NPA. This $800,000.00 investment was knowingly used as the capital

to make the illegal loans to consumers through agreements between NPA and the Tribe’s entities.

And after the “sale” of NPA to the Tribe, Kai Investments continued to knowingly aid, facilitate,

abet, and profit from the scheme through a promissory note to NPA in an amount over

$64,100,000.00, as well as a series of other interrelated agreements that gave NPA significant input

and control over the lending operations.

       29.     Defendant Benjamin Gravley is a natural person and resident of Arizona. Gravley

is the sole owner of Signal Light, as well as its controlling principal/manager. Gravley is also the

former president of Kellner Capital, LP. As the manager for Signal Light, LLC, and president of

Kellner Capital, Gravley personally participated in and oversaw those entities’ decisions to enter

into a partnership with the Tribe to fund and profit from its usurious lending scheme. Because

Gravley was personally involved in the initiation, development, management, oversight, and

facilitation of the partnership, he is personally liable to consumers. Consumer Fin. Prot. Bureau

v. CashCall, Inc., 2018 WL 485963, at *11 (C.D. Cal. Jan. 19, 2018) (finding a lending business

owner liable for a $10.2 million-dollar judgment because “he directly participated in and had the

ability to control” the deceptive acts).

       30.     Defendant Signal Light, LLC is a limited liability company with a principal place

of business in Arizona. As explained in more detail below, Signal Light is a private investment



                                                 9
    Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 10 of 74 PageID# 497




company that knowingly aided, maintained an interest in, funded and profited from one of the

Tribe’s usurious lending entities, Majestic Lake Financial, LLC. Among other things, Signal Light

provided a secured promissory note to Majestic Lake’s parent company, Tribal Lending

Enterprise, Inc., in the amount of $1,500,000.00, which was used to make the illegal loans to

consumers. In addition to providing the startup capital to fund the loans, Signal Light agreed “to

commit capital . . . up to a Twenty-Five Million Dollars ($25,000,000)” to acquire “participation

interests” in the originated loans originated by Majestic Lake. Signal Light had the right to acquire

“no less than 75% and no more than 99%” of “the face value of the principal amount of a loan.

Signal Light received the gross profit from these loans, including the usurious interest. This

structure essentially provided Majestic Lake with a revolving line of credit to fund and grow a

multi-million-dollar lending portfolio.

         31.    Defendant Hymken, LP is a Delaware limited partnership. According to a verified

complaint submitted by George Kellner, the primary purpose of Hymken was to invest in interests

in the unsecured high-rate installment loans offered by the Tribe. Upon information and belief,

Hymken knowingly made its investment in the usurious lending scheme through an investment in

Signal Light.

         32.    Defendant Kellner Capital LP is a limited partnership with a principal place of

business in New York. According to its website, Kellner Capital is one of “Wall Street’s longest

running hedge funds.”2 Upon information and belief, Kellner Capital (through affiliates)

knowingly aided, maintained an interest in, funded, and profited from the usurious lending scheme

through Signal Light’s partnership with the Tribe. Upon information and belief, Kellner Capital




2
 See Kellner Capital, Home, available at: http://www.kellnercap.com/ (last visited on March 9,
2022).

                                                 10
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 11 of 74 PageID# 498




funded a substantial portion of Signal Light’s promissory note and the participation interests, and

it received the proceeds (albeit indirectly through its holding of other companies involved).

       33.     Defendant George Kellner is a natural person and resident of New York. George

Kellner is the managing partner of Kellner Capital. According to a verified complaint submitted

by George Kellner, he personally invested in Hymken and those funds were then used to provide

capital to Signal Light to purchase the participation interests in the usurious lending scheme.

       34.     Defendant Amit Raizada is a natural person and resident of Florida. Amit Raizada

is one of the former managers of National Performance Agency, LLC and owned a significant

portion of the company. As detailed below, Raizada was instrumental in the creation,

implementation, and development of the tribal lending scheme, including through the recruitment

of investors and the providing of infrastructure, including the employees at Spectrum Business

Ventures. Raizada also received a substantial amount of the revenue generated by the scheme,

which was paid to his wholly owned company, the Raizada Group.

       35.     Defendant Spectrum Business Ventures, Inc. (“SBV”) is a corporation organized

under the laws of Florida. At all times relevant hereto, Raizada was the chief executive officer of

SBV, as well as its sole director. Upon information and belief, SBV is wholly owned by Raizada

(or companies owned by him). As detailed in a letter authored by Raizada, SBV (through Raizada

and others) helped raise capital for the tribal lending scheme, charging 5% (at a minimum) of the

investment amount as a fee for the services. According to his letter, SBV and Raizada raised at

least $28.5 million for the scheme.

       36.     Defendant Raizada Group, LLLP f/k/a Raizada Group, LP is a limited partnership

formed under the laws of Florida. Raizada Group is the vehicle through which Amit Raizada

owned his interest in NPA. As explained in more detail below, Raizada Group knowingly aided,



                                                11
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 12 of 74 PageID# 499




maintained an interest in, funded, and profited from the usurious lending scheme through its

significant ownership interest in NPA. And after the “sale” of NPA to the Tribe, Raizada Group

knowingly continued to aid, facilitate, and profit from the scheme through a promissory note to

NPA in excess of $64,100,000.00, as well as a series of other interrelated agreements that gave

NPA (and its closely held investors) significant input and control over the lending operations.

                                  FACTUAL BACKGROUND

A.     State usury and licensing laws protect consumers from usurious loans.

       37.     “From times immemorial,” state governments have sought to “protect desperately

poor people from the consequences of their own desperation” through usury laws. Otoe-Missouria

Tribe of Indians v. N.Y. State Dep’t of Fin. Servs., 974 F. Supp. 2d 353, 356 (S.D.N.Y. 2013).

       38.     Typically, state usury laws involve: (1) an interest rate cap; and/or (2) a licensing

requirement for lenders. Almost every state in the country has enacted one or both of these

requirements, including Virginia, Indiana, Wisconsin, California, and Ohio, i.e., the home states

of each of the Plaintiffs where they applied for, received, and repaid their loans.

       1.      Virginia

       39.     Virginia’s “usury laws serve a beneficial public purpose and are to be liberally

construed with a view to advance the remedy and suppress the mischief.” Radford v. Cmty. Mortg.

& Inv. Corp., 226 Va. 596, 601 (1984). The Supreme Court of Virginia has repeatedly

acknowledged that Virginia’s “usury statutes represent a clarification of the public policy of the

state that usury is not to be tolerated, and the court should therefore be chary in permitting this

policy to be thwarted.” See, e.g., id. (quoting Heubusch & Reynolds v. Boone, 213 Va. 414 (1972)).




                                                 12
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 13 of 74 PageID# 500




        40.     In accordance with this policy, Virginia’s general usury statute—absent certain

exceptions not applicable in this case—provides that “no contract shall be made for the payment

of interest on a loan at a rate that exceeds 12 percent per year.” Va. Code § 6.2-303(A).

        41.     In addition to the general usury laws embodied in Virginia’s chapter entitled

“Interest and Usury,” Virginia’s legislature has enacted the Consumer Finance Act (“CFA”),

which is “part of a comprehensive statutory, financial, and regulatory structure dating back to at

least 1918,” when it was known as the Small Loan Act. Commonwealth v. NC Fin. Sols. of Utah,

LLC, 100 Va. Cir. 232, at *5 (2018).

        42.     The legislature enacted this statute because “the conduct of such business has long

been the cause of general complaint and of much hardship and injustice to borrowers, and there is

no regulation or provision of law which has proved effective for the protection of borrowers and

for the punishment of usurious money lenders.” Id. (quoting 1918 Va. Acts, ch. 402.); see also

Sweat v. Commonwealth, 152 Va. 1041, 1057 (1929) (explaining that legislature enacted the Act

in response “money loan sharks and salary-buyers”).

        43.     Unlike the general usury statutes, the CFA “requires all who engage in the business

of making noncommercial personal loans in Virginia to be licensed, and therefore regulated and

supervised by the [Secretary of the Commonwealth].” NC Fin. Sols. of Utah, LLC, 100 Va. Cir.

232, at *6 (citing Va. Code § 6.2-1501(A)).

        44.     “The Legislature intended such lenders be subject to distinct scrutiny, including

examination of their affairs and records no less than once every three years.” Id. (citing Va. Code

§ 6.2-1531).

        45.     Critically, “[n]o distinction is made in the statute between domestic or foreign-

based lending entities,” id., such as tribal lenders.



                                                  13
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 14 of 74 PageID# 501




       46.     If a person violates the interest rate cap, the CFA imposes severe consequences,

including criminal liability and forfeiture of all principal, interest, and any charges related to the

loan. Va. Code § 6.2-1540 (making it a class 2 misdemeanor for any person who violates or

participates in the violation of Virginia’s interest rate cap); Va. Code § 6.2-1541(A) (declaring

such loans “void” and principal uncollectible).

       2.      Indiana

       47.     Like Virginia, Indiana’s lending and usury protections are a part of Indiana’s clearly

delineated public policy against usurious loans and predatory lending. Indeed, “Indiana’s first

usury statutes were passed before the turn of the 20th century . . . .” Payday Today, Inc. v.

Defreeuw, 903 N.E.2d 1057, 1060 (Ind. Ct. App. 2009).

       48.     In 2002, Indiana’s Small Loans Act was enacted to specifically respond to the

growth of predatory payday lenders similar to NPA. Id.

       49.     As the Court of Appeals of Indiana has observed, some lenders believe that they

may “ignore the historically moral and practical foundations for usury statutes and charge any

amount of interest that the so-called payday loan ‘free market’ will bear.” Id. at 1062.

       50.     Such contracts, however, are unenforceable because of “public policy

considerations.” Id.

       51.     Consistent with this, a usurious loan violates Indiana law if: (1) it is made without

the license required by Indiana law; (2) it is made in excess of Indiana’s interest rate caps for

licensed lenders, which varies from 10% to 15% for loans of less than $550; or (3) it was made in

excess of Indiana’s general usury cap on consumer loans, which prohibits a finance charge in

excess of 25%.




                                                  14
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 15 of 74 PageID# 502




       3.      Wisconsin

       52.     Wisconsin’s “[u]sury laws are for the benefit of the public generally and,

specifically, for the benefit of the individual borrower.” Williams v. Sec. Sav. & Loan Ass’n, 120

Wis. 2d 480, 484 (Wis. Ct. App. 1984); see also State v. J. C. Penney Co., 48 Wis. 2d 125, 153,

(Wis. 1970) (“While it is true that usury laws provide specific remedies for the borrower, it seems

beyond question that they are enacted for the benefit of the public generally. If so, the state

certainly has an interest in seeing that the law is not continually violated.”).

       53.     Consistent with this, Wisconsin has enacted a statute that expressly provides that a

“person may not originate or service a payday loan involving a Wisconsin resident without first

having obtained” a license from the Wisconsin Division of Banking. Wis. Stat. § 138.14(2).

       54.     This statute also makes clear that it applies to “all payday loans made to a

Wisconsin resident, regardless of whether the loan is made by face-to-face contact, mail,

telephone, Internet, or any other means.” Id.

       55.     Absent a license, a person may not charge interest on a loan in excess of 12% to a

Wisconsin resident. Wis. Stat. § 138.05(1)(a).

       56.     If a person charges interest in violation of Wisconsin’s 12% interest rate cap, the

loan is unenforceable, and the victim may recover “the amount of interest, principal, and charges

paid on such loan or forbearance but not more than $2,000 of principal . . . .” Wis. Stat. § 138.06(3).

       4.      California

       57.     Recognizing that “[u]sury—the charging of excessive interest rates—is an ancient

concept dating back to the earliest commercial civilizations,” California, which was founded in

1850, has regulated maximum interest rates since 1872. Robert R. Rickett, California’s Model

Approach to Usury, 18 Stan. L. Rev. 1381 (1966).



                                                  15
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 16 of 74 PageID# 503




       58.     Currently, the law of usury in California is based upon California Constitution

article XV, section 1, which limits the interest payable “[f]or any loan or forbearance of any

money.” Sw. Concrete Products v. Gosh Constr. Corp., 798 P.2d 1247, 1249 (Cal. 1990) (quoting

Cal. Const. Art. XV § 1).

       59.     Under the California Constitution, “unless a lender falls into one of the exemptions

approved by the state legislature, it may not charge more than 10% interest per annum on a loan.”

Dev. Acquisition Group, LLC v. EA Consulting, Inc., 776 F. Supp. 2d 1161, 1164 (E.D. Cal. 2011)

(citing Cal. Const. Art. XV § 1).

       60.     “An interest rate in excess of 10% is usurious, and if a lender negotiates a loan at a

usurious rate absent a qualified exemption, the agreement shall be void and the lender will have

no action at law to recover any interest.” Id.

       61.     California’s usury laws “are primarily designed to penalize those who take

advantage of ‘unwary and necessitous borrowers.’” See id. at 1166 (quoting Fox v. Peck Iron and

Metal Co., Inc., 25 B.R. 674, 692-93 (Bankr. S.D. Cal. 1982)).

       62.     In addition to its general usury law, the loans at issue in this case violated

California’s Financing Law’s laws because they were made without a license and imposed interest

rates far greater than those permitted by California law.

       63.     As a result, California law renders the entire contract “void,” including the “right

to collect or receive any principal, charges, or recompense in connection with the transaction.”

Cal. Fin. Code § 22750.

       64.     Lending at usurious interest rates also constitutes a violation of California’s unfair

competition laws, Cal. Bus. & Prof. Code § 17200, et seq., which prohibits unlawful, unfair, or

deceptive business practices. Cal. Bus. & Prof. Code § 17200.



                                                 16
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 17 of 74 PageID# 504




       5.       Ohio

       65.      “The [legislature’s] right to regulate the rate of interest by law is as old as

government itself.” Wessell v. Timberlake, 116 N.E. 43, 46 (Ohio 1916).

       66.      Ohio law generally caps interest rates at 8% per annum.         Ohio Rev. Code

§ 1343.01(A).

       67.      Lenders licensed under the Small Loans Law may charge interest rates exceeding

8% APR for loans of $5,000 or less. Ohio Rev. Code § 1321.02. For loans between $1,000 and

$5,000, licensees may charge interest rates no greater than 28% APR on the first $1,000 and 22%

on amounts of the principal exceeding $1,000. Ohio Rev. Code § 1321.13(A). Defendants were

never licensed to lend in Ohio.

       68.      Any lender who charges interest rates in excess of those provided by law “shall

forfeit to the borrower twice the amount of interest contracted for.” Ohio Rev. Code § 1321.14(D).

       69.      Lenders licensed under Ohio’s Short-Term Loans Law may charge interest rates no

greater than 28% APR on loans of $500 or less. Ohio Rev. Code § 1321.35–40. Licensees must

be located in Ohio. Ohio Rev. Code § 1321.36.

       70.      Any interest charged in excess of 28% APR on loans of $500 or less is deemed an

unfair or deceptive business practice in violation of Ohio’s Consumer Sales Practices Act. Ohio

Rev. Code §1321.44(A). A short-term borrower injured by excessive interest rates “shall have a

cause of action and be entitled to the same relief available to a consumer under [the CSPA].” Ohio

Rev. Code §1321.44(A).

       71.      Ohio’s Consumer Sales Practices Act allows injured borrowers to “recover [their]

actual economic damages plus an amount not exceeding five thousand dollars in noneconomic

damages.” Ohio Rev. Code § 1345.09(A).



                                               17
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 18 of 74 PageID# 505




B.     Overview regarding the creation of the tribal lending business model.

       72.     Many states have enacted usury laws because “[u]sury legislation to cap interest

rates on loans predates the founding of our country.” Payday Today, Inc. v. Defreeuw, 903 N.E.2d

1057, 1060 (Ind. Ct. App. 2009) (citing Christopher Peterson, Usury Law, Payday Loans, and

Statutory Sleight of Hand: Salience Distortion in American Credit Pricing Limits, 92 Minn. L.

Rev. 1110, 1116 n.13 (2008)).

       73.     Unfortunately, despite the multitude of state and federal protections to prevent

usurious lending, predatory financial services “are heavily marketed to financially vulnerable

consumers.”3 The collection of unlawful and usurious debt continues to be a major problem, in

part because the profits to be realized by small, high interest loans are so high that illegal lenders

are willing to take the significant risk of litigation and liability for their violations of state and

federal law.

       74.     Over the past decade, payday lending has become “one of the fastest growing

segments of the consumer credit industry,” and as of 2005 “there were more payday-loan stores in

the United States than McDonald’s, Burger King, Sears, J.C. Penney, and Target stores combined.”

Martin & Schwartz, supra at 759 (quoting Karen E. Francis, Note, Rollover, Rollover: A

Behavioral Law and Economics Analysis of the Payday Loan Industry, 88 Tex. L. Rev. 611, 611–

12 (2010)).




3  See CFPB, CFPB Finalizes Rule To Stop Payday Debt Traps (Oct. 5, 2017),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-finalizes-rule-stop-payday-debt-
traps/. Predatory financial services, including high-cost installment loans and payday debt traps,
often involve “high-cost, small dollar loans to low income, low-credit borrowers” and “a
repayment system that involves the lender withdrawing funds directly from the borrower’s bank
account.” Payday, Vehicle Title, and Certain High-Cost Installment Loans, 131 Harv. L. Rev.
1852, 1852 (2018).

                                                 18
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 19 of 74 PageID# 506




       75.      It is no secret that “internet payday lenders have a weak history of complying with

state laws.” Martin & Schwartz, supra at 759.

       76.      Prior to the rent-a-tribe business model, some payday lenders entered into

partnerships with national banks to avoid compliance with state laws.4 Others, attempted to evade

the law through claims that the loans were subject to the laws of a foreign country or state without

any usury laws.

       77.      In response to the crackdown on these arrangements, several payday lenders

reincarnated the lending model through associations with Native American tribes to avoid state

laws. Martin & Schwartz, supra at 759.

       78.      For example, in January 2009, one of the legal pioneers of the tribal lending model,

Claudia Callaway, was “recommending that her clients move to a ‘tribal model’” and “that under

federal Indian law the tribal lender could make these loans, and they could sell the loans to a non-

tribal entity, and the loans could be collected upon at the contract rate, and the loans would not be

subject to state regulation.” Consumer Fin. Prot. Bureau v. CashCall, Inc., 2016 WL 4820635, at

*2 (C.D. Cal. Aug. 31, 2016).

       79.      Callaway also advised her clients that tribal lending “contemplated two structures,”

i.e., arm of the tribe lending or tribal member lending. Id.

       80.      Under either structure, Callaway claimed “the loans would be made under the laws

of the tribe and would not have to comply with licensing and usury laws in states where borrowers

resided.” Id.




4 See, e.g., Jean Ann Fox & Edmund Mlerzwinkski, Consumer Fed’n of Am. & U.S. Pub. Interest

Research Grp., Rent-a-Bank Payday Lending: How Banks Help Payday Lenders Evade State
Consumer        Protection      17–22       (2001),    available      at      http://
www.consumerfed.org/pdfs/paydayreport.pdf.

                                                 19
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 20 of 74 PageID# 507




        81.     Callaway is one of several attorneys who represented the payday lenders in these

transactions; another is Jennifer Weddle of Greenberg Traurig.

        82.     On the other side of the table was Robert Rosette and representatives of his law

firm, Rosette, LLP, which holds itself out as “a leading majority Indian owned national law firm

representing     tribal    governments         and    tribal   entities.”   Rosette,   Our    Firm,

https://www.rosettelaw.com/our-firm/ (last visited on March 13, 2022).

        83.     Robert Rosette is a well-known attorney who represents tribes willing to engage in

the tribal business model.

        84.     Rosette shared Callaway’s erroneous legal opinion that loans made through tribal

entities did not need to comply with state licensing and usury laws—even when the tribe received

a nominal amount of the proceeds from the loans.

        85.     Between 2008 and 2016, Rosette represented the Habematolel Pomo of Upper

Lake, including its tribal lending entities.

        86.     Like the prior schemes, this tribal lending model is highly problematic for several

reasons. Most notably, the loans are aggressively marketed, created, and collected in the state

where the consumer resides and thus are subject to the consumer’s state licensing and usury laws.

Hengle, 19 F.4th at 348.

        87.     Over the past several years, no less than a dozen courts have considered the

enforceability of these loans, each holding that tribal choice-of-law clauses were unenforceable

under comparable circumstances and that state law applied. Id.5



5 See also, e.g., Consumer Fin. Prot. Bureau v. CashCall, Inc., 2016 WL 4820635, at *7 (C.D.

Cal. Aug. 31, 2016) (holding that “the tribal choice of law provision is unenforceable” because it
was “clear that the parties’ choice was solely based on CashCall’s desire to shield itself against
state usury and licensing laws.”); W. Sky Fin., LLC v. State ex rel. Olens, 793 S.E.2d 357, 366 (Ga.
2016), reconsideration denied (Dec. 8, 2016); Inetianbor v. CashCall, Inc., 2015 WL 11438192,

                                                     20
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 21 of 74 PageID# 508




        88.     In addition, there have been multiple class actions and government enforcement

actions that have returned hundreds of millions of dollars to consumers who were victimized by

illegal tribal lending enterprises. See generally Gibbs v. Plain Green, LLC, Case No. 3:17-cv-495,

Dkt. 141 (E.D. Va. Dec. 13, 2019) (order granting final approval of the class settlement); see also

David Ress, Historic settlement sees online lenders wiping out $380 million in debt. Virginians

led     the     way,    The     Virginian     Pilot    (Dec.        12,   2019),   available    at

https://www.pilotonline.com/business/consumer/dp-nw-online-lender-settlement-20191212-

n7khtxn7tbbsbauzirehwmpgly-story.html; Press Release, Office of Att’y Gen., Ga., Attorney

General Chris Carr Announces $40 Million Plus Settlement with Online Payday Lender (Feb. 8,

2017), https://law.georgia.gov/press-releases/2017-02-08/attorney-general-chris-carr-announces-

40-million-plus-settlement-online ($23.5 million in compensation, $17 million in loan forgiveness,

$1 million civil penalty, and $500,00 attorney’s fees and costs).

        89.     Two prominent perpetrators also were recently convicted and sentenced to prison

for their roles.6

        90.     Despite all the litigation and enforcement efforts, Defendants knowingly aided,

abetted, facilitated, and profited from the usurious lending scheme as detailed below.



at *3 (S.D. Fla. Dec. 8, 2015); State ex rel. Cooper v. W. Sky Fin., LLC, , 2015 WL 5091229, at
*10 (N.C. Super. Aug. 27, 2015); MacDonald v. CashCall, Inc, No. CV 16-2781, 2017 WL
1536427, at *10 (D.N.J. Apr. 28, 2017), aff’d, 883 F.3d 220 (3d Cir. 2018); Dillon v. BMO Harris
Bank, N.A., 856 F.3d 330, 336 (4th Cir. 2017); Hayes v. Delbert Servs. Corp., 811 F.3d 666, 675
(4th Cir. 2016); Rideout v. CashCall, Inc., 2018 WL 1220565, at *8 (D. Nev. Mar. 8, 2018).
6 See The United States Attorney’s Office, Southern District of New York, Scott Tucker Sentenced

To More Than 16 Years In Prison For Running $3.5 Billion Unlawful Internet Payday Lending
Enterprise (Jan. 8, 2018), https://www.justice.gov/usao-sdny/pr/scott-tucker-sentenced-more-16-
years-prison-running-35-billion-unlawful-internet-payday; The United States Attorney’s Office,
Eastern District of Pennsylvania, Two Men Found Guilty of Racketeering Conspiracy in Payday
Lending Case, (Nov. 27, 2017), https://www.justice.gov/usao-edpa/pr/two-men-found-guilty-
racketeering-conspiracy-payday-lending-case.

                                                21
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 22 of 74 PageID# 509




C.     Overview of National Performance Agency, LLC.7

       91.     As detailed in a presentation book for investors, National Performance Agency,

LLC (“NPA”) was a closely held company “created in 2011 by a group of accomplished,

experienced operators and investors.” Ex. 1 at 2688 (emphasis added).

       92.     Headquartered in Kansas City, the company specialized “in short-term consumer

finance,” i.e., payday loans. Id.

       93.     Before the formation of NPA, Joshua Landy—one of its founders and its

president—“started several consumer finance companies” that “offered short term micro-finance

consumer loans to customers,” including National Opportunities Unlimited, Inc., which provided

high-interest loans over the internet. Id.

       94.     Mr. Landy’s high-interest lending company was extremely successful between

2004 and 2011. This success, in part, was driven by the “availability and consumer comfort with

the internet,” which allowed Mr. Landy “to capitalize on this new medium to identify, assess, fund,

and manage short term consumer loans.” Id.

       95.     In order to grow its portfolio and profits, Landy and his friend and business partner,

Amit Raizada, sought to partner with additional individuals.

       96.     Following “an extensive due diligence of financial performance, technology

infrastructure, management capabilities, and an analysis of regulatory and compliance aspects,”

Mr. Landy sold a 70% interest in his payday lending business to a group of private investors,

including but not limited to Defendants Ingleside Investors, Richard Investors, LLC, Ferrell




7 As will be detailed below, Defendants Gravley, Signal Light, and Kellner Capital were not

investors in NPA. None of the allegations in Parts C or D pertain to them.

                                                22
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 23 of 74 PageID# 510




Capital, LLC, Seville, LTD., E-Opportunities, LLC, Skye, LLC, Cabbage City, LLC, and Kai

Investments (collectively, the “NPA Investors”).

       97.     The sale “was led by Spectrum Business Ventures,” a company primarily owned

and managed by Amit Raizada, who also owned a significant stake in NPA. Id.

       98.     To facilitate the sale and scheme, Landy, Raizada, Scott Asner, and others formed

“NPA Investors, LP,” which was the vehicle through which they received the proceeds generated

by the usurious loans.

D.     Following regulatory crackdowns, NPA shifts its business to tribal lending.

       99.      Shortly after the sale, NPA “adjusted its business model,” and “gradually

eliminated making loans” through “Delaware entities, and chose a different path.” Ex. 1 at 2688.

       100.    There were “two key considerations” for this new path: (1) “growth was inhibited

by limitations that restricted the number of states in which NPA could offer loans,” and (2) “a fluid

and somewhat aggressive regulatory environment placed the long term viability of the existing

business model into question.” Id. at 2688–89.

       101.    Thus, after consultation with, input from, and agreement by the NPA Investors,

NPA’s business plan was to use the “sovereign model,” and “[e]stablish multiple . . . tribal

relationships” to continue its lending. Ex. 2 at 755.

       102.    NPA intended to utilize “the sovereign model for lending in a number of

situations,” including to allow NPA to “begin lending into states in which” it did not “currently

operate[]” and to “migrate loans” from its Delaware lending entities. Id.

       103.    As part of this new path—after consultation with and input from NPA Investors—

NPA (primarily through Landy and Raizada) “assessed numerous tribes” to use as the conduit for

its high-interest loans. Ex. 1 at 2689.



                                                 23
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 24 of 74 PageID# 511




         104.   Ultimately, NPA initiated a partnership with the Habematolel Pomo of Upper Lake

on or around July 2012.

         105.   Through this partnership, NPA and its wholly owned affiliates provided the

following: (1) funding for the loans; (2) management and servicing of the loans; (3) a call center

for customer support and processing of the loans; and (4) marketing for the loans.

         106.   In other words, NPA provided the Tribe with a turnkey lending operation, and in

exchange, the Tribe created a tribal entity to serve as the conduit for the loans.

         107.   Consistent with the structure described above, Golden Valley was established in

August     2012,   and    consumers     were    able    to   obtain   loans    from   the    website,

www.goldenvalleylending.com, as early as August 29, 2012.

         108.   According to its website, Golden Valley provided short-term loans of “up to

$1,000,” and borrowers could be “approved in seconds.”

         109.   On its homepage, the website stated that “GOLDENVALLEYLENDING.COM IS

A WEBSITE OWNED AND OPERATED BY GOLDEN VALLEY LENDING, WHICH IS A

TRIBAL      LENDING       ENTITY      WHOLLY           OWNED     AND      OPERATED          BY   THE

HABEMATOLEL POMO OF UPPER LAKE, CALIFORNIA . . . AND IS OPERATING

WITHIN THE TRIBE’S RESERVATION.”8

         110.   Consistent with this, Golden Valley’s website and lending agreements claimed that

its address was 635 East Highway 20, Upper Lake, California 95485.




8 The Wayback Machine, a digital archive containing the histories of billions of websites, first

captured a snapshot of Golden Valley’s website on June 10, 2013. See Wayback Machine, Archive
of    Golden      Valley     Lending,    available      at    https://web.archive.org/web/2013-
0610153342/http://www.goldenvalleylending.com/.

                                                 24
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 25 of 74 PageID# 512




        111.    Around this same time, in March 2012, Silver Cloud was established, and

consumers were able to obtain a loan from its website, www.silvercloudfinancial.com, as early as

June 8, 2013.

        112.    Silver Cloud’s website largely mirrored the website of Golden Valley, including

the advertised loan amounts and misrepresentations that Silver Cloud was “wholly owned and

operated” by the Tribe and operated “within the Tribe’s reservation.”9

        113.    After launching Silver Cloud, Defendants established Mountain Summit in August

2012,    and     consumers      were    able    to    obtain    a    loan    from     its   website,

www.mountainsummitfinancial.com, as early as January 6, 2014.

        114.    Mountain Summit’s website largely mirrored the websites of Golden Valley and

Silver Cloud, including the advertised loan amounts and misrepresentations that Sliver Cloud was

“wholly owned and operated” by the Tribe and operated “within the Tribe’s reservation.” 10

E.      The tribal entities are a front for NPA’s usurious lending activities.

        115.    Although the entities claimed to be “wholly owned and operated” by the Tribe

within its reservation, the Tribe’s role was a front—non-tribal outsiders handled every material

aspect of the lending activities from Overland Park, Kansas, the hotbed of the online payday

lending industry. See generally Al Jazeera America, When Tribes Team Up With PayDay Lenders,

Who Profits? (June 17, 2014).

        116.    Indeed, when investigative journalists went to visit the reservation, they observed

that the tribal entities’ “one-story office just off California’s Highway 20 doesn’t look like much,”

certainly not what you would expect of “four thriving financial enterprises.” Id.



9 The first available snapshot of Silver Cloud’s website is June 8, 2013.


10 The first available snapshot of Mountain Summit’s website is January 6, 2014.



                                                 25
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 26 of 74 PageID# 513




       117.    To that end, the journalists further observed that “little of the revenue that flows

through these tribal businesses ends up in the rancheria or benefiting tribal members, as attested

by the cluster of rundown houses nearby, where some members live.” Id.

       118.    And interviews with tribal members confirmed that “none of them had any jobs

related to payday lending.” Id.

       119.    Instead, nearly all activities performed on behalf of Golden Valley, Silver Cloud,

and Mountain Summit were performed by owners and employees of non-tribal companies,

primarily NPA and its affiliated companies.

       120.    These employees—located at 7201 W. 110th Street, Suite 210, Overland Park,

Kansas 66210—handled the day-to-day operations of Golden Valley, Silver Cloud, and Mountain

Summit, including underwriting, risk assessment, compliance, customer complaints, accounting,

lead generation, collections, and website management.

       121.    By way of example, NPA and Silver Cloud entered into a “Services Agreement”

dated July 21, 2012, whereby it agreed to provide “expert advice on technological issues in setting

up Silver Cloud operations.” Ex. 3 at 2263.

       122.    Pursuant to this Services Agreement, NPA provided the following services:

(1) personnel and equipment to receive and respond to incoming telephone calls, faxes, and emails

from Silver Cloud’s borrowers; (2) delivery of electronic files for all debits and credits to each

borrowers’ loan; (3) lead generation; (4) receipt and storage of application materials; (5) servicing

of the loans, including collection of payments; and (6) delivery of information “to determine

whether to fund loans” and “credit such potential customers’ accounts with the appropriate

amounts” for debits and credits. Id. at 2264–65.




                                                 26
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 27 of 74 PageID# 514




       123.    Additionally, nearly all of the revenue went to non-tribal outsiders, such as the

Defendants, primarily through the use of “Participation Agreements.”

       124.    Rather than being the direct lender, this “participation model” allowed NPA to

purchase essentially all of the economic interests in the loan as detailed in NPA’s Business Plan

and Roadmap dated January 2012. Ex. 2 at 755 (explaining various “structural approaches to tribal

deals,” including a participation model “in which NPA purchases 99% in the loans the tribe

makes.”).

       125.    The participation model, in other words, entitled NPA and its affiliated companies

entitled to nearly all of the income and any profits from the loans while, at the same time,

disguising its role and creating the façade that the loans were from a tribal government.

F.     Raizada’s significant contributions to NPA’s scheme.

       126.    Between July 2012 and July 24, 2013—i.e., during the negotiation and

implementation of the tribal lending partnership—Amit Raizada was one of the managers of NPA

and controlled a seat on its management board. As such, Raizada was closely involved in NPA’s

operations, including its creation, development, implementation, and ongoing operation of the

tribal lending partnership.

       127.    Amit Raizada was also a majority owner of NPA, albeit through several different

companies affiliated with him, including the Raizada Group.

       128.    As Amit explained in an email to an NPA employee in response to an email

regarding operations:

       I hope you clearly under that [redaction] I own the company, I have heard that you have
       been struggling with that concept. Bob manages the financials and you need to start
       reporting to Bob otherwise it may be best that you work on companies unrelated to SBV
       assets. Bob has managed multi-billion dollar organizations for decades and over a billion
       of my own assets. . . . hope you understand that we own 70% of the business and loyalty
       needs to be to both [redaction]/SBV equally. . . . From now on if you get instructions from


                                                27
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 28 of 74 PageID# 515




       either [redaction]/me (or my office) I would suggest following them or finding a career
       outside my assets.

Ex. 4 at JL000038 (emphasis added).11

       129.    Raizada was also the primary person responsible for recruiting investors to

participate in the scheme.12 By way of example, Raizada recruited and facilitated a multi-million

dollar investment by Richard Moseley, who was convicted of and sentenced to 10 years in jail for

illegal payday lending.

       130.    Raizada’s substantial contributions to the scheme are summarized in a letter sent

by him to another member of NPA. In this letter—in defending the fees that SBV earned for

activities performed on behalf of NPA—Raizada noted various contributions to the payday lending

scheme, including: (1) raising capital for loans made through the tribe (as detailed below);

(2) obtaining “a $30,000 expense account per month” to facilitate the scheme; (3) raising “$4M

for a new, very profitable portfolio structure” involving the tribe; (4) raising an additional “$15M

for a new, very profitable portfolio structure” involving the tribe; (5) giving NPA “20,000 leads

for free,” which were used to solicit borrowers for loans; (6) administrative reporting and financial

support from SBV’s employees, including Raizada; and (7) helping build the team who managed

and oversaw the payday lending scheme. Ex. 6 at JL000101-102.



11 Plaintiffs did not redact any of the documents filed with this First Amended Complaint. Instead,

under the Settlement Agreement in Hengle, the use of documents is conditioned upon the parties’
agreement to redact certain portions of documents or the filing of them under seal.
12 Raizada was expelled from management because he (through SBV) repeatedly billed NPA’s

affiliates for lavish expenses incurred when soliciting investment in the scheme. For example, in
October 2012, Raizada spent and was reimbursed almost $200,000 for expenses incurred at night
clubs in Las Vegas. Ex. 5 at JL000064-65. Over these two days, Raizada was recruiting investors
to provide additional capital for the tribal lending scheme. Such conduct was not an isolated
incident, but part of his ongoing responsibilities. See Ex. 13 at JL000034 (email from Amit
indicating that “my meeting[s] are going very well. I expect to be able to grow the participation
model with 3rd party very fast along with getting our 10-12m portfolio up[.]”).

                                                 28
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 29 of 74 PageID# 516




       131.    These actions were directly taken by Raizada, in his capacity as the chief executive

officer of SBV and as an owner of NPA (albeit indirectly through various entities).

       132.    And although Raizada was expelled as a manager on or around September 2013,

he retained his ownership interest in NPA and its affiliated companies through the Raizada Group,

which entitled him to significant distributions as detailed below.

E.     Allegations Regarding the NPA Investor Defendants, including their knowledge of
       and facilitation of the usurious lending scheme.

       133.    Although Landy and Raizada were the architects and primary beneficiaries of the

scheme, the NPA Investors and their management teams knowingly aided, abetted, and facilitated

the scheme—primarily by providing: (1) substantial capital to fund the loans to consumers;

(2) their input, influence, and consent on decisions relating to the portfolios; and (3) rolling over

profits in the scheme for reinvest and growth of the portfolios.

       134.    More specifically, with full knowledge that it would be used to facilitate the high-

interest loans, Ingleside Investors invested $4,000,000.00 in NPA to be used in connection with

its usurious lending scheme. In exchange, Ingleside Investors received a fixed return of 20% APR

on the invested funds, as well as fixed percentage of the revenue based on their investment—all of

which was paid via the illegal amounts collected from consumers.

       135.    At all times relevant hereto, Defendant Warner was the president of Ingleside

Investors. As the firm’s president, Warner oversees all aspects of the firm’s investment and

operating activities, including its investment activities with NPA.

       136.    Upon information and belief, Ingleside Investors’ management (including Warner)

decided to invest in NPA, knowing that those funds would be used to support its usurious lending

activities and knowingly maintained their investment despite their knowledge that it aided, abetted,

and supported the usurious lending scheme.


                                                 29
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 30 of 74 PageID# 517




       137.    Upon information and belief, Warner participated in Ingleside Investors’ decision

to invest in NPA, knowing that those funds would be used to support its usurious lending activities.

Further, Warner knowingly maintained Ingleside Investors’ investment despite their knowledge

that it aided, abetted, and supported the usurious lending scheme.

       138.    Similarly, with full knowledge that it would be used to facilitate the high-interest

loans, E Opportunities invested $4,505,000.00 in NPA to be used in connection with the usurious

lending scheme. In exchange, E Opportunities received a fixed return of 20% APR on the invested

funds, as well as fixed percentage of the revenue based on their investment—all of which was paid

via the illegal amounts collected from consumers.

       139.    Upon information and belief, E Opportunities was a pooled investment fund

created, overseen, and managed by Monu Joseph. Upon information and belief, E Opportunities’

management (primarily Monu Joseph) decided to invest in NPA, knowing that those funds would

be used to support its usurious lending activities, and it knowingly maintained its investment

despite knowledge that it aided, abetted, and supported the usurious lending scheme.

       140.    In addition to E Opportunities, Joseph is the president, manager, and partial owner

of several different entities that invested in NPA, including but not limited to Joseph Investment,

LLC and Joseph NPA Investment, LLC.

       141.    Similarly, Seville invested $1,500,000.00 in NPA to be used in connection with the

usurious lending scheme. In exchange, Seville received a fixed return of 20% APR on the invested

funds, as well as fixed percentage of the revenue based on their investment—all of which was paid

via the illegal amounts collected from consumers.

       142.    Upon information and belief, Seville is a wholly owned subsidiary and shell

company created by Ferrell Capital for the purpose of making its investment in NPA. Upon



                                                30
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 31 of 74 PageID# 518




information and belief, and despite the investment being in the name of Seville, the $1,500,000.00

came from Ferrell Capital and its employees, who oversaw and managed all aspects of the

investment with NPA.

       143.    Similarly, with full knowledge that it would be used to facilitate the high-interest

loans, Skye invested $1,000,000.00 in NPA to be used in connection with the usurious lending

scheme. In exchange, Skye received a fixed return of 20% APR on the invested funds, as well as

fixed percentage of the revenue based on their investment—all of which was paid via the illegal

amounts collected from consumers.

       144.    Similarly, with full knowledge that it would be used to facilitate the high-interest

loans, Cabbage City invested $4,870,000.00 in NPA to be used in connection with the usurious

lending scheme. In exchange, Cabbage City received a fixed return of 20% APR on the invested

funds, as well as fixed percentage of the revenue based on their investment—all of which was paid

via the illegal amounts collected from consumers.

       145.    As a result of their investment and ownership interest in NPA, the NPA Investors

received quarterly updates related to portfolios, such as information regarding performance of the

portfolios, their operations, and regulatory actions and litigation against other comparable

enterprises engaged in tribal lending.

       146.    By way of example, on September 24, 2012, Landy sent correspondence that

indicated “a number of important events have affected the [payday] industry—most notably the

appointment of a director to the Consumer Financial Protection Bureau and a number of lawsuits

targeting online lenders with which we have no association.” Ex. 7 at 1402.




                                                31
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 32 of 74 PageID# 519




        147.    And although there had “been no new regulations or verdicts,” NPA had been

“listening and learning from these events,” resulting in the initiation of the “agreement with a

Native American Tribe to purchase participation interests” in their “generated loans.” Id.

        148.    This letter further explained that the “new endeavor” would require “start-up

capital” and NPA Investors would “experience decreased profitability as the business builds and

gains momentum.” Id.

        149.    But just as it had been in the past, Landy indicated that he expected “the same as

we transition the business” to tribal lending to “build a sustainable and profitable future.” Id.

        150.    By way of another example, the NPA Investors received correspondence in May

2013, which explained that the tribal lending program “was proceeding well” and on the verge of

“future growth.” Ex. 8 at 2019.

        151.    This correspondence further informed the NPA Investors that “[i]n order to take

advantage of this prime season of leads and continue growing the Tribe participation portfolio,”

NPA would not be making “distributions during June and July 2013 but instead” it was going to

“reinvest in the portfolio.” Id.

        152.    Reinvesting the profits back into the portfolio allowed NPA “to leverage the

opportunity that presents itself during this time of year,” i.e., when borrowers were more

susceptible to these high-interest products. Id.

        153.    Put differently, the NPA Investors’ reinvestment of the profits from the scheme

allowed it to grow and continue in the making and collection of more unlawful loans, including

those made to Plaintiffs.




                                                   32
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 33 of 74 PageID# 520




F.     Allegations Regarding the Restructure of the Usurious Lending Scheme.

       154.    A few years after the creation of the tribal lending model, regulators caught onto

the scheme.

       155.    Most notably, on August 6, 2013, the New York Department of Financial Services

(“DFS”) issued a cease-and-desist letter to 35 online lending companies, including Golden Valley.

The Official Website of New York State, Press Room, Cuomo Administration Demands 35

Companies Cease and Desist Offering Illegal Online Payday Loans That Harm New York

Consumers (Aug. 6, 2013), https://www.governor.ny.gov/news/cuomo-administration-demands-

35-companies-cease-and-desist-offering-illegal-online-payday-loans.

       156.    The cease and desist was issued after an “extensive” investigation “uncovered that

those companies were offering payday loans to consumers over the Internet in violation of New

York law, including some loans with annual interest rates as high as 1,095 percent.” Id.

       157.    In addition to the cease and desist sent to the payday lenders, the Superintendent of

Financial Services, Benjamin Lawsky, also sent letters to 117 banks and the National Automated

Clearinghouse Association, requesting that “they work with DFS to cut off access to New York

customer accounts for illegal payday lenders.” Id.

       158.    In his public comments on the letters, Mr. Lawsky explained: “Companies that

abuse New York consumers should know that they can’t simply hide from the law in cyberspace.

We [a]re going to use every tool in our tool-belt to eradicate these illegal payday loans that trap

families in destructive cycles of debt.” Id.

       159.    In addition to Golden Valley, a number of other “tribal lenders” received the cease

and desist, including Red Rock Tribal Lending, American Web Loan, Plain Green, Great Plains,

and Western Sky Financial.



                                                33
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 34 of 74 PageID# 521




        160.      Within two days of its issuance, Amit Raizada emailed a copy of the cease and

desist to certain partners at NPA. Ex.14 at 02744.

        161.      Five days later, another member of NPA’s management sent correspondence to

NPA Investors, explaining that “a significant number of online lenders have lost the ability to

advance loan proceeds and process loan payments through the ACH (Automated Clearing House)

network.” Ex. 15 at 3110.

        162.      “This of course, reduces the ability of on-line lenders to originate and process

loans,” the letter explained. Id.

        163.      Shortly thereafter, several of NPA’s competitors funded and spearheaded litigation

to challenge a cease and desist issued to the tribal lenders. As part of this lawsuit, the tribal lending

entities (Great Plains and Red Rock Tribal Lending) sought a preliminary injunction that tribal

businesses were inherently sovereign nations and not subject to New York law. Otoe-Missouria

Tribe of Indians v. New York State Dep’t of Fin. Servs., 974 F. Supp. 2d 353 (S.D.N.Y.

2013), aff’d, 769 F.3d 105 (2d Cir. 2014).

        164.      On September 30, 2013, the district court denied the tribal plaintiff’s request for a

preliminary injunction, finding that the “undisputed facts demonstrate[d]” that the illegal activity

was “taking place in New York, off of the Tribes’ lands,” and thus, the loans were “subject to the

State’s non-discriminatory anti-usury laws.” Id. at 361.

        165.      The court reasoned, “There is simply no basis . . . that the Tribes are treated

differently from any other individuals or entities that enter New York to lend to New York

residents.” Id.

        166.      In addition to the loss in Otoe-Missouria, a growing number of lawsuits and

government enforcement actions against the scheme’s competitors brought increased scrutiny to



                                                   34
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 35 of 74 PageID# 522




the tribal lending business model, including the New York Attorney General’s lawsuit filed in

August 2013 against a tribal lending enterprise involving CashCall and Western Sky. People of

the State of New York v. Western Sky Financial, et al, New York State Supreme Court, New York

County, No. 451370/2013.

        167.    Less than five months after the lawsuit was filed, the New York Attorney General

entered into a settlement with Western Sky, CashCall, and their owners, requiring the enterprise

to refund borrowers who paid more than the legal rate of interest and pay $1.5 million in penalties.

New York State Office of the Attorney General, Press Releases, A.G. Schneiderman Announces

Settlement With Western Sky Financial And Cashcall For Illegal Loans Made Over The Internet

(Jan. 24, 2014), available at https://ag.ny.gov/press-release/ag-schneiderman-announces-

settlement-western-sky-financial-and-cashcall-illegal-loans.

        168.    The litigation in New York was a small part of the problem for the tribal lending

business model, the Department of Justice launched “Operation Choke Point” in 2013, and the

Consumer Financial Protection Bureau filed a lawsuit against CashCall in December 2013.

Consumer Fin. Protection Bureau v. CashCall, Inc., No. 1:13-cv-13167 (D. Mass.) (complaint

filed on Dec. 16, 2013).13

        169.    In that case, the CFPB took the same position as the district court in Otoe-

Missouria, i.e., that state usury laws applied to tribal lenders.




13 See, e.g., In Re Cashcall, Inc., 2013 WL 3465250, at *1 (NH Banking Dept. 2013) (“[I]t appears

that Western Sky is nothing more than a front to enable CashCall to evade licensure by state
agencies and to exploit Indian Tribal Sovereign Immunity to shield its deceptive business practices
from prosecution by state and federal regulators.”); Consumer Fin. Protection Bureau v. CashCall,
Inc., No. 1:13-cv-13167 (D. Mass.) (complaint filed on Dec. 16, 2013); In re Moses, No. 12-05563-
8-RDD, 2013 WL 53873, at *4 (Bankr. E.D.N.C. Jan. 3, 2013).

                                                  35
 Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 36 of 74 PageID# 523




        170.       As a result of the attack on the industry, NPA’s owners and executives knew the

tribal business model was at risk and that the consequences would be severe.

        171.       Over the next nine months, NPA’s management team and other members in the

industry worked to develop a solution to shield the non-tribal members (including Defendants) but

at the same time continue the deceptive scheme to collect usurious amounts from consumers. 14

        172.       Ultimately, the solution was the sale of NPA its affiliated entities to newly created

tribal entities.

        173.       As explained in a legal memorandum to NPA’s primary owners and managers,

there were several “benefits” to the merger transaction, including enhancement of the optics and

reduction of exposure. More specifically, the legal memorandum explained:




Ex. 9 at 12211 (emphasis added) (filed under seal).


14
  At least two of Rosette’s other clients, Red Rock and American Web Loan, completed similar
mergers. Williams v. Big Picture Loans, LLC, 329 F. Supp. 3d 248, 272 (E.D. Va. 2018)
(explaining that plaintiffs “presented credible evidence” that following a district court’s decision
against one of Rosette’s other clients, the non-tribal member and “Tribe looked for ways to
restructure” the “lending operation in order to reduce exposure liability.”); Solomon v. Am. Web
Loan, 2019 WL 1324490, at *7 (E.D. Va. Mar. 22, 2019) (describing a similar sale involving
another tribal lending enterprise).

                                                    36
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 37 of 74 PageID# 524




       174.    Upon information and belief, this legal memorandum was shared with the NPA

Investors, who were fully and completely informed regarding the reasons for the merger.

       175.    And although NPA was “sold” to the Tribe through a series of complex legal

documents, NPA and its investors continued to receive the vast majority of the profits from the

usurious lending scheme through a promissory note to NPA in excess of $64,100,000.00.

       176.    In addition, the sale involved a series of other interrelated agreements that gave

NPA significant influence and power over the lending operations—essentially requiring no

material changes to the lending operations despite the sale.

       177.    Although technically reorganized and renamed, ULPS continues to operate in the

same manner as NPA, i.e., with its operations being conducted by non-tribal members working

thousands of miles away from the Tribe’s reservation.

       178.    These employees handle most of the day-to-day administrative operations of

Golden Valley, Silver Cloud, and Mountain Summit, such as their underwriting, risk assessment,

compliance, customer complaints, accounting, lead generation, collections, and website

management.

       179.    At all times relevant hereto, the NPA Investors had knowledge of the usurious

lending scheme and knowingly maintained their interest and involvement. In addition, the NPA

Investors were required to and approved many of the legal documents establishing the structure

and operations of the usurious lending scheme.

       180.    The NPA Investors were also entitled to vote on the restructure and had an

opportunity to relinquish their ownership interest. Yet, each of the NPA Investors agreed to move

forward with the restructure and knowingly profit from the illegal lending scheme.




                                                 37
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 38 of 74 PageID# 525




F.     The NPA and the NPA Investors allow the Tribe to create a fourth portfolio with
       Defendants Gravley, Signal Light, Kellner Capital, Hymken, and George Kellner,
       subject to certain restrictions.

       181.    Recognizing the substantial profits generated by other hedge funds who invested in

tribal lending, Defendant Gravley sought out to create partnership with a Native American Tribe

to create, develop, and invest in a usurious lending portfolio.

       182.    As part of this process, Gravley formed Signal Light to be the entity to have the

direct partnership with the Tribe’s entities.

       183.    Gravley is the sole owner of Signal Light, as well as its controlling

principal/manager. Gravley was also the former president of Kellner Capital, LP.

       184.    In order to raise money for the partnership with the Tribe, Gravley also created

Hvmken. The purpose of Hvmken was to allow outside investors to invest in Signal Light’s

partnership with the Tribe.

       185.    Signal Light was Hvmken’s general partner. Thus, as the sole owner and controlling

principal of Signal Light, Gravley was its de facto manager.

       186.    In addition to his own contribution to Hvmken, Gravley solicited and obtained

investments from others, including George Kellner.

       187.    George Kellner personally invested in Hymken, and those funds were then used to

provide capital to Signal Light to purchase the participation interests in the usurious lending

scheme.

       188.    Upon information and belief, Kellner Capital partially funded Signal Light’s

promissory note and the participation interests, and Kellner Capital received the proceeds (albeit

indirectly through its holding of other companies involved).




                                                 38
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 39 of 74 PageID# 526




       189.   Backed by substantial capital from Kellner Capital, Gravley sought out a

partnership with a Native American tribe in or around January 2015.

       190.   Upon information and belief, Gravley was introduced to the Habematolel Pomo of

Upper Lake through Rosette or his associates.

       191.   The Tribe was interested in creating a fourth portfolio, but it had a problem: its

contractual agreements with NPA prohibited it from engaging in another lending businesses.




       193.   In a proposed draft of this letter, NPA’s attorney initially wrote:




                                                39
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 40 of 74 PageID# 527




Id. at 12545–47 (filed under seal).15

       194.    Over the course of the next several months, the Tribe pushed NPA to allow it to

create the fourth portfolio with Gravley and Kellner Capital.




15 To be clear, it appears that a toned-down version of this letter was ultimately sent to the

executives at Kellner Capital. However, Plaintiffs use this version as evidence of NPA’s
knowledge regarding the illegal predatory lending practices at issue, as well as the terms of the
arrangement between NPA and the Tribe.

                                                40
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 41 of 74 PageID# 528




       198.    Within two months of this meeting, the Tribe, Kellner Capital, and NPA Investors

reached agreement on the creation of the fourth portfolio, including the income split. And on

August 7, 2015, Signal Light formalized a partnership with the Tribe, resulting in the creation of

a fourth tribal lending entity, Majestic Lake Financial, LLC.

       199.    As part of this transaction, Signal Light entered into a promissory note dated August

7, 2015, with Majestic Lake’s parent company, Tribal Lending Enterprise, Inc., in the amount of

$1,500,000.00, which was used to make the illegal loans to consumers.

       200.    In exchange for this loan, Signal Light took a security interest in the right, title, and

interest of all of the assets of Majestic Lake, including the principal and gross profit received from

each loan.

       201.     In addition to providing the startup capital to fund the loans, Signal Light agreed

“to commit capital . . . up to a Twenty-Five Million Dollars ($25,000,000)” to acquire

“participation interests” in the originated loans originated by Majestic Lake. Signal Light had the

right to acquire “no less than 75% and no more than 99%” of “the face value of the principal

amount of a loan.”

       202.    As a result of its interest, Signal Light received the gross profit from loans,

including the usurious interest. In turn, portions of these amounts were distributed to Gravley and

Hvmken’s other partners, including George Kellner and Kellner Capital.

       203.    In 2016, Signal Light restructured its partnership with the Tribe to a similar model

used by the NPA Investors where Signal Light became a creditor through a promissory, as opposed

to an investor in the loans.

       204.    In addition to its substantial investment, Gravely (acting on behalf of Signal Light,

Kellner Capital, and Hymken) also had substantial input on operational decisions. Ex. 12 at 12865.



                                                  41
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 42 of 74 PageID# 529




       205.       This is confirmed by a follow up letter from an August 2016 meeting,

memorializing concerns of NPA and its investors. In this letter, a representative of NPA noted:




Id. at 12864–65.

       206.       In sum, Gravley, Signal Light, Hvmken, Kellner Capital, and George Kellner

knowingly aided, maintained an interest in, funded, and profited from the usurious lending scheme

as described above. Similarly, NPA and the NPA Investors consented to the creation of Majestic

Lake, established the parameters by which it could operate, and profited from the loans.

       207.       In addition, NPA and the NPA Investors agreed to the sharing of certain services to

benefit the overall usurious lending scheme, such as costs and expenses associated with each tribal

lending entity.




                                                  42
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 43 of 74 PageID# 530




G.     Plaintiffs’ experiences.

       208.   Because of the ostensible protections created by the tribal business model, the

interest rates charged on the loans were more than 40 to 75 times the amount permitted by state

usury and licensing laws.

       209.   For example, Blackburn received multiple loans (totaling $2,900) between October

2015 and May 23, 2016. These loans had APRs of 627%, 665%, 767%, and 709%.

       210.   Blackburn repaid $4,372.25 on these loans—all of which were void, illegal, and

unenforceable under Virginia law. Blackburn’s last payment was made on August 12, 2016.

       211.   Similarly, Rose received multiple loans (totaling $1,700) between June 2017 and

January 29, 2018. These loans all had APRs over 600%.

       212.   Rose repaid $5,217.50 on these loans—all of which were void, illegal, and

unenforceable under Virginia law. Blackburn’s last payment was made on July 20, 2018.

       213.   Likewise, Bumbray obtained a loan in the name of Majestic Lake on November 9,

2017, in the amount of $700. The loan had an APR of 543%.

       214.   Bumbray repaid $1,981.00 on that loan, which was void, illegal, and unenforceable

under Virginia law. Bumbray’s last payment was made on December 18, 2018.

       215.   Hengle also received multiple loans (totaling $1,500) between September 2016 and

October 2016. These loans all had APRs over 600%.

       216.   Hengle repaid $1,127.65 on these loans—all of which were void, illegal, and

unenforceable under Virginia law. Hengle’s last payment was made on October 14, 2016.

       217.   Nolte, too, received multiple loans (totaling $16,800) between September 2012 and

April 2018. Upon information and belief, all of these loans had APRs over 400%.




                                              43
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 44 of 74 PageID# 531




       218.    Nolte repaid $29,033.39 on these loans—all of which were void, illegal, and

unenforceable under Indiana law. Nolte’s last payment was made on April 20, 2018.

       219.    Similarly, Falash received multiple loans (totaling $19,600) between May 2015 and

October 2019. Upon information and belief, all of these loans had APRs over 400%.

       220.    Falash repaid $33,875.58 on these loans—all of which were void, illegal, and

unenforceable under Wisconsin law. Falash’s last payment was made on March 4, 2022.

       221.    Likewise, Tucker received multiple loans (totaling $3,700) between September

2017 and December 2019. Upon information and belief, all of these loans had APRs over 400%.

       222.    Tucker repaid $10,155.21 on these loans—all of which were void, illegal, and

unenforceable under California law. Tucker’s last payment was made on November 20, 2020.

       223.    Murphy also received multiple loans (totaling $1,100) between November 2019

and December 2019. These loans had APRs close to 600%.

       224.    Tucker repaid $2,502.50 on these loans—all of which waere void, illegal, and

unenforceable under Ohio law. Tucker’s last payment was made in October 2020.

       225.    Plaintiffs all applied for their loans on the internet while located in their respective

home states. None of Plaintiffs traveled to the reservation to obtain their loans.

       226.    Plaintiffs all used their respective addresses when they applied for the loans, and

they used their bank accounts maintained in their home states to receive the loans and for the

subsequent ACH debits to pay down the loans.

       227.    Plaintiff Nolte applied for her loans on the internet from Indiana; and Plaintiff

Falash applied for her loan on the internet while located in Wisconsin.

       228.    Because of the failure to comply with each Plaintiffs’ respective state’s usury and

licensing requirements, Plaintiffs’ loans were void and no principal, interest, fees, or other charges



                                                 44
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 45 of 74 PageID# 532




were recoverable in connection with the loans. See Va. Code § 6.2-1541; Ind. Code § 24-4.5-7-

111; Wis. Stat. § 138.06; Cal. Fin. Code § 22750; Ohio Rev. Code Ann. § 1321.02.

        229.    Similarly, almost all other state jurisdictions treat as illegal unlicensed small loans

like those involved here.16

        230.    Despite the nearly universal prohibition against unlicensed, high-rate, small-loan

lending, Defendants knowingly participated in a widespread scheme to make and collect the loans



16
   Most states recognize a similar public policy against usury and have adopted similar laws
addressing high-interest loans. See Ala. Code § 5-18-4 (loans made without a license “shall be
void”); Alaska Stat. § 06.20.310; Ariz. Rev. Stat. § 6-613(B) (loans that charge illegal finance
charges are “voidable”); Ark. Code §§ 4-57-104, 105; Cal. Fin. Code §§ 22303, 22750; Colo. Rev.
Stat. Ann. § 5-2-201; Conn. Gen. Stat. § 36a-558 (c)(1) (loans made without a license are “void”
and uncollectable); Conn. Gen. Stat. § 36a-558 (c)(1) (loans made without a license are “void” and
uncollectable); D.C. Code §§ 26-905, 28-3303; Fla. Stat. § 516.02 (loans made with excessive
interest rates are “not enforceable”); Ga. Code § 16-17-3 (loans made without a license “shall be
void ab initio”); Haw. Rev. Stat. § 478-4; Idaho Code § 28-46-402 (payday loans made without a
license are “void, uncollectable and unenforceable”); 815 Ill. Comp. Stat. 122/4-10 (payday loans
made without a license “shall be null and void”); Kan. Stat. § 16a-5-201; Ky. Rev. Stat. Ann. §
286.4-991 (loans made without a license are void); La. Stat. Ann. § 9:3552; Me. Rev. Stat. tit. 9-
A, § 2-401; Mass. Gen. Laws Ann. ch. 140, § 110 (small loans made without a license are void);
Md. Code, Com. Law § 12-314 (small loans made without a license that charge excessive interest
rates are “unenforceable”); Mich. Comp. Laws §§ 438.32, 445.1854; Minn. Stat. §§ 47.60, 47.601
(provisions in loan contracts charging excessive interest rates are void and unenforceable); Minn.
Stat. § 56.19 (authorizing debtor to recover all amounts paid on loans made in violation of licensing
requirements); Miss. Code. § 75-67-119; Mont. Code § 31-1-712 (Any deferred deposit loan made
by an unlicensed lender “is void, and the unlicensed person may not directly or indirectly collect,
receive, or retain any loan principal, interest, fees, or other charges related to the loan”); Neb. Rev.
Stat. § 45-1024; N.H. Rev. Stat. § 399-A:23 (any contract for small loan by unlicensed lender is
“null and void”); N.M. Stat. § 58-15-3 (small loans made without a license are void); N.Y. Gen.
Oblig. Law § 5-511 (usurious loans are “void”); N.Y. Banking Law § 355; N.C. Gen. Stat. § 53-
166 (small loans made without a license are void); N.D. Cent. Code § 13-04.1-09.3 (West); Ohio
Rev. Code Ann. § 1321.02 (small loans made without a license are void); Okla. Stat. tit. 14A, § 3-
201; Or. Rev. Stat. § 725.045 (consumer finance loans made without a license are “void”); 41 P.S.
§§ 501-502; 6 R.I. Gen. Laws § 6-26-4 (loans charging excessive interest “shall be usurious and
void”); S.C. Code § 34-29-140; S.D. Codified Laws § 54-4-44 (loans charging excessive interest
or made without a license are “void and uncollectible”); Tenn. Code §§ 47-14-110, 117; Tx. Fin.
§§ 302.001-004; Vt. Stat. tit. 9, § 50; Va. Code § 6.2-1541(any loan made in violation of Virginia’s
usury and licensing laws “shall be void” and “any principal or interest paid on the loan shall be
recoverable by the person by or for whom payment was made”); Wash. Rev. Code § 19.52.020;
W. Va. Code § 46A-5-101; Wis. Stat. § 138.14; Wyo. Stat. § 40-14-521.

                                                  45
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 46 of 74 PageID# 533




at issue in this case, which have victimized hundreds of thousands of consumers on terms similar

to Plaintiffs.

H.      Facts Related to the Tolling for Any Injuries Suffered Outside the Statute of
        Limitations Period.17

        231.     Tolling doctrines, including equitable tolling and fraudulent concealment, apply to

RICO claims.

        232.     To establish equitable tolling, “[t]he circumstances preventing a party from

pursuing his or her rights must be external to the party’s own conduct.” Hengle v. Asner, 433 F.

Supp. 3d 825, 892 (E.D. Va. 2020) (quoting CVLR Performance Horses, Inc. v. Wynne, 792 F.3d

469, 478 (4th Cir. 2015)).

        233.     “Such circumstances must be extraordinary and include instances when ‘wrongful

conduct on the part of the defendant’ prevents the plaintiff from asserting his claims.” Id. (quoting

Wynne, 792 F.3d at 478) (quoting Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000)).

        234.     Based on these standards, the Court previously found that “equity warrants tolling”

of one plaintiffs’ claims “until at least June 2017, when similarly situated consumers first filed




17 Defendants have erroneously argued that “to fall within the RICO statute of limitations,
Plaintiffs must show that they entered into their loans after March 15, 2018—four years before
they filed the Complaint.” Dkt. 54 at 25. This is incorrect because it is “discovery of the injury,
not discovery of the other elements of a claim, is what starts the clock.” Rotella v. Wood, 528 U.S.
549, 555 (2000). A subset of this rule is the “ ‘separate accrual rule,’ which provides that a new
cause of action accrues for each new and independent injury, even if the RICO violation causing
the injury happened more than four years before.” Grimmett v. Brown, 75 F.3d 506, 510 (9th Cir.
1996) (quoting Bankers Trust Co. v. Rhoades, 859 F.2d 1096, 1102 (2d Cir. 1988)); see also Smith
v. Allred, 2016 WL 3094008, at *3 (S.D.W. Va. 2016) (rejecting an argument that a plaintiff may
not sue for “new injuries within the last four years if the plaintiff has previously suffered RICO
violations as part of the same pattern before that time.”). Thus, neither Bumbray nor Rose’s claims
are time barred as they suffered injuries—payment of usurious amounts—within 4 years prior to
the filing. Notwithstanding the above, the statute of limitations should be tolled for all injuries
suffered for the reasons explained herein.

                                                 46
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 47 of 74 PageID# 534




suit against a tribal payday lending practice in this district,” which put him on “notice that he could

pursue similar claims in federal court.” Id. (emphasis added).

        235.    By holding that the claims were tolled “until at least June 2017,” the Court left open

the question of whether tolling was appropriate after June 2017.

        236.    Under the circumstances, Plaintiffs believe that the statute of limitation should be

equitably tolled until January 9, 2020,18 which is the first date that any court issued a ruling relating

to the contracts at issue in this case.

        237.    Tolling is warranted until this time because the contracts waive the borrowers’

federal and state rights and “force them to litigate any remaining rights in an ill-defined ‘Tribal

Form’ with no apparent existence.” Hengle, 433 F. Supp. 3d at 892.

        238.    Equitable tolling is further warranted because the “tribal law” governing the

contracts prospectively waived all substantive and procedural rights of borrowers. See, e.g., Hengle

v. Treppa, 19 F.4th 324, 344 (4th Cir. 2021) (“[W]e conclude that a claimant proceeding under

tribal law would be unable to assert a RICO claim against individuals associated with a tribal

lender and certainly could not pursue RICO's treble damages remedy.”).

        239.    In addition, the doctrine of fraudulent concealment is a separate doctrine that

“prevents a defendant from ‘concealing a fraud, or . . . committing a fraud in a manner that it

concealed itself until’ the defendant ‘could plead the statute of limitations to protect it.’” Edmonson

v. Eagle Nat'l Bank, 922 F.3d 535, 549 (4th Cir. 2019) (citation omitted).




18 As explained below, the statute of limitations should be further tolled until December 2021

pursuant to the doctrine of fraudulent concealment.

                                                   47
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 48 of 74 PageID# 535




       240.     This purpose of this doctrine is to “ensur[e] that wrongdoers are not permitted, or

encouraged, to take advantage of the limitations period to commit secret illegal conduct without

penalty.” Id.

       241.     To toll the limitations period based on fraudulent concealment, “a plaintiff must

demonstrate: “(1) the party pleading the statute of limitations fraudulently concealed facts that are

the basis of the plaintiff’s claim, and (2) the plaintiff failed to discover those facts within the

statutory period, despite (3) the exercise of due diligence.” Id. (citation omitted).

       242.     In this case, each condition is satisfied.

       243.     First, as explained above, Defendants fraudulently concealed their involvement in

the lending scheme by using the tribal lending entities as fronts for their illegal lending activities

after it was no longer viable to lend through their Delaware entities.

       244.     And once tribal lending came under fire, Defendants admittedly attempted to



                                                                                        Ex. 9 at 12211

(emphasis added) (filed under seal). This merger was intended to further conceal the role of NPA

and the Defendants.

       245.     In addition, document after document demonstrates that borrowers were misled into

believing that they were doing business with a company owned and operated by a sovereign

government.     By    way    of    example,    on    its     homepage,   the   website    stated   that

“GOLDENVALLEYLENDING.COM IS A WEBSITE OWNED AND OPERATED BY

GOLDEN VALLEY LENDING, WHICH IS A TRIBAL LENDING ENTITY WHOLLY




                                                    48
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 49 of 74 PageID# 536




OWNED AND OPERATED BY THE HABEMATOLEL POMO OF UPPER LAKE,

CALIFORNIA… AND IS OPERATING WITHIN THE TRIBE’S RESERVATION.”19

       246.    The template loan contracts made similar misrepresentations designed to

fraudulently conceal the role of NPA and Defendants. The template loan contracts also waived

federal and state law for the purpose of inhibiting borrowers from filing any claims related to the

loans, which may have uncovered the role of NPA and Defendants.

       247.    Second, Plaintiffs failed to discover the facts regarding Defendants’ involvement

until December 2021.

       248.    And third, Plaintiffs exercised due diligence. Despite the fraudulent concealments

and misrepresentations, Plaintiffs identified and sued some of the key participants in the scheme

as early as April 9, 2019. This lawsuit placed Defendants on notice that, once identified, they

would likely be sued for their involvement.

       249.    However, because the defendants in the Hengle case filed and subsequently

appealed this Court’s decision on their voluminous motions to dismiss and to compel arbitration,

Plaintiffs were unable to serve discovery until December 2021.

       250.    In other words, Plaintiffs were not dilatory in their prosecution of the case against

the Tribal Officials and Defendants’ business partners. In fact, they served their discovery as soon

as they could—even weeks before the Court’s Initial Pretrial Conference on January 10, 2022.

       251.    Defendants’ business partners first responded to this discovery in February 2022.

Approximately one month later, Plaintiffs filed this lawsuit.




19 The Wayback Machine, a digital archive containing the history of billions of websites, first

captured a snapshot of Golden Valley’s website on June 10, 2013. See Wayback Machine, Archive
of    Golden      Valley     Lending,    available      at    https://web.archive.org/web/2013-
0610153342/http://www.goldenvalleylending.com/ (emphasis added).

                                                49
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 50 of 74 PageID# 537




       252.    Because the identities of the Defendants had been fraudulently concealed through

the structure, misrepresentations, and restructure of the scheme, Plaintiffs submit that the statute

of limitations should be tolled until January 1, 2022.

                                   COUNT ONE:
                        VIOLATIONS OF RICO, 18 U.S.C. § 1962(d)
                      (CLASS CLAIM AGAINST ALL DEFENDANTS)

       253.    Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

       254.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action for themselves and on behalf of a class—the “§ 1962(d) Class”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona, Arkansas,
       California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,
       Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland,
       Michigan, Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New
       Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
       Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas,
       Vermont, Virginia, Washington, West Virginia, or Wyoming; and (3) repaid any
       amount on the loans.

       Plaintiffs are members of the § 1962(d) Class.

       255.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs Bumbray,

Hengle, Blackburn and Rose bring this action for themselves and on behalf of a class—the

“Virginia § 1962(d) Subclass”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, and (3) repaid any amount on the loans.

       Plaintiffs Bumbray, Hengle, Blackburn, and Rose are members of this subclass.

       256.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Nolte brings

this action for herself and on behalf of a class—the “Indiana § 1962(d) Subclass”— defined as:



                                                 50
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 51 of 74 PageID# 538




       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Indiana; and (3) repaid any amount on the loans.

       Plaintiff Nolte is a member of this subclass.

       257.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Falash brings

this action for herself and on behalf of a class—the “Wisconsin § 1962(d) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Wisconsin; and (3) repaid any amount on the
       loans.

       Plaintiff Falash is a member of this subclass.

       258.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Tucker brings

this action for himself and on behalf of a class—the “California § 1962(d) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from California; and (3) repaid any amount on the
       loans.

       Plaintiff Tucker is a member of this subclass.

       259.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Murphy

brings this action for herself and on behalf of a class—the “Ohio § 1962(d) Subclass”— defined

as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Ohio; and (3) repaid any amount on the loans.

       Plaintiff Murphy is a member of this subclass.

       260.   Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

allege that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained




                                                51
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 52 of 74 PageID# 539




by Golden Valley, Silver Cloud, Mountain Summit, and Majestic Lake, and the class members

may be notified of the pendency of this action by published and/or mailed notice.

       261.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions include:

(1) whether the interest rates used on loans violate each state’s usury laws; (2) whether the choice-

of-law provision used in their loan agreements and selecting the tribal law are enforceable;

(3) whether the relationship between the various participants constitutes an enterprise as defined

under RICO; (4) whether Defendants knew of and facilitate the conspiracy to collect the loans;

and (5) whether the amounts paid by each consumer are recoverable against Defendants. These

questions predominate over the questions affecting only individual class members.

       262.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

       263.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives of the putative class because their interests coincide with, and are not antagonistic

to, the interests of the members of the class they seek to represent; they have retained counsel

competent and experienced in such litigation; and they have and intend to continue to prosecute

the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of

the members of the class. Neither Plaintiffs nor their counsel have any interests which might cause

them to not vigorously pursue this action.

       264.    As alleged above, Defendants are an association-in-fact enterprise who are

associated together for the common purpose of making, collecting, and profiting off the illegal



                                                  52
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 53 of 74 PageID# 540




loans. Alternatively, Golden Valley, Silver Cloud, Mountain Summit, Majestic Lake, and NPA

were enterprises as defined in 18 U.S.C. § 1961(4).

       265.    In the alternative, Plaintiffs allege that National Performance Agency, LLC was an

enterprise as defined by 18 U.S.C. § 1691(4)

       266.    All of the loans made to Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona,

Arkansas, California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,

Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland, Michigan,

Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina,

South Dakota, Tennessee, Texas, Vermont, Virginia, Washington, West Virginia, or Wyoming

included an interest rate far in excess of twice the enforceable rate under each consumer’s

respective state law.

       267.    Defendants violated § 1962(d) of RICO by agreeing to undertake and advance the

usurious lending scheme, including by aiding, abetting, and facilitating the scheme through their

funding of the loans, as well as through their ownership and oversight of NPA. Defendants further

violated including by aiding, abetting, and facilitating the scheme through their role in the creation

of the original agreements related to the origination, funding, and servicing of the loans, as well as

the merger agreements designed to shield the non-tribal outsiders from liability and facilitate the

continued illegal lending activities.

       268.    Accordingly, Defendants are jointly and severally liable to Plaintiffs and the

putative class members for their actual damages, treble damages, costs, and attorney’s fees

pursuant to 18 U.S.C. § 1964(c).




                                                 53
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 54 of 74 PageID# 541




                                   COUNT TWO:
                        VIOLATIONS OF RICO, 18 U.S.C. § 1962(b)
                      (CLASS CLAIM AGAINST ALL DEFENDANTS)

       269.    Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

       270.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action for themselves and on behalf of a class—the “§ 1962(b) Class”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona, Arkansas,
       California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,
       Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland,
       Michigan, Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New
       Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
       Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas,
       Vermont, Virginia, Washington, West Virginia, or Wyoming; and (3) repaid any
       amount on the loans.

       Plaintiffs are members of the § 1962(b) Class.

       271.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs Bumbray,

Hengle, Blackburn and Rose bring this action for themselves and on behalf of a class—the

“Virginia § 1962(b) Subclass”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, and (3) repaid any amount on the loans.

       Plaintiffs Bumbray, Hengle, Blackburn, and Rose are members of this subclass.

       272.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Nolte brings

this action for herself and on behalf of a class—the “Indiana § 1962(b) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Indiana; and (3) repaid any amount on the loans.

       Plaintiff Nolte is a member of this subclass.



                                                54
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 55 of 74 PageID# 542




       273.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Falash brings

this action for herself and on behalf of a class—the “Wisconsin § 1962(b) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Wisconsin; and (3) repaid any amount on the
       loans.

       Plaintiff Falash is a member of this subclass.

       274.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Tucker brings

this action for himself and on behalf of a class—the “California § 1962(b) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from California; and (3) repaid any amount on the
       loans.

       Plaintiff Tucker is a member of this subclass.

       275.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Murphy

brings this action for herself and on behalf of a class—the “Ohio § 1962(b) Subclass”— defined

as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Ohio; and (3) repaid any amount on the loans.

       Plaintiff Murphy is a member of this subclass.

       276.   Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

allege that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Golden Valley, Silver Cloud, Mountain Summit, and Majestic Lake, and the class members

may be notified of the pendency of this action by published and/or mailed notice.

       277.   Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no


                                                55
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 56 of 74 PageID# 543




factual or legal issues that differ between the putative class members. These questions include:

(1) whether the interest rates used on loans violate each state’s usury laws; (2) whether the choice-

of-law provision used in their loan agreements and selecting the tribal law are enforceable;

(3) whether the relationship between the various participants constitutes an enterprise as defined

under RICO; (4) whether Defendants knew of and facilitate the conspiracy to collect the loans;

and (5) whether the amounts paid by each consumer are recoverable against Defendants. These

questions predominate over the questions affecting only individual class members.

         278.   Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

         279.   Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives of the putative class because their interests coincide with, and are not antagonistic

to, the interests of the members of the class they seek to represent; they have retained counsel

competent and experienced in such litigation; and they have and intend to continue to prosecute

the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of

the members of the class. Neither Plaintiffs nor their counsel have any interests which might cause

them to not vigorously pursue this action.

         280.   As alleged above, Defendants are an association-in-fact enterprise who are

associated together for the common purpose of making, collecting, and profiting off the illegal

loans.

         281.   Alternatively, Golden Valley, Silver Cloud, Mountain Summit, Majestic Lake, and

National Performance Agency were enterprises as defined in 18 U.S.C. § 1691(4).




                                                  56
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 57 of 74 PageID# 544




       282.    All of the loans made to Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona,

Arkansas, California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,

Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland, Michigan,

Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina,

South Dakota, Tennessee, Texas, Vermont, Virginia, Washington, West Virginia, or Wyoming

included an interest rate far in excess of twice the enforceable rate under each consumer’s

respective state law.

       283.    As alleged above, Defendants violated § 1962(b) of RICO by acquiring and

maintaining interests in and control of the enterprise involved in the unlawful collection of debt.

More specifically, Defendants engaged in the unlawful debt collection to maintain an interest and

control of the enterprises identified above.

       284.    Through their ownership interests in NPA and their status as major investors,

Defendants exercised considerable control over how NPA, Golden Valley, Silver Cloud, Mountain

Summit, and Majestic Lake carried out the unlawful lending scheme as a whole. As detailed above,

Defendants also reinvested the usurious proceeds back into the lending scheme, thereby increasing

their involvement and the number of loans made to consumers, such as Plaintiffs.

       285.    Plaintiffs and the class members were injured as a result of Defendants’ violations

of 18 U.S.C. § 1962(b) because the loans would not have been made but for Defendants’

investment and participation in the enterprise.

       286.    As a result of Defendants’ violations, Defendants are jointly and severally liable to

Plaintiffs and the putative class members for their actual damages, treble damages, costs, and

attorney’s fees pursuant to 18 U.S.C. § 1964(c).



                                                  57
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 58 of 74 PageID# 545




                                  COUNT THREE:
                        VIOLATIONS OF RICO, 18 U.S.C. § 1962(a)
                      (CLASS CLAIM AGAINST ALL DEFENDANTS)

       287.    Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

       288.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action for themselves and on behalf of a class—the “§ 1962(a) Class”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona, Arkansas,
       California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,
       Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland,
       Michigan, Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New
       Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
       Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas,
       Vermont, Virginia, Washington, West Virginia, or Wyoming; and (3) repaid any
       amount on the loans.

       Plaintiffs are members of the § 1962(a) Class.

       289.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs Bumbray,

Hengle, Blackburn and Rose bring this action for themselves and on behalf of a class—the

“Virginia § 1962(b) Subclass”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, and (3) repaid any amount on the loans.

       Plaintiffs Bumbray, Hengle, Blackburn, and Rose are members of this subclass.

       290.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Nolte brings

this action for herself and on behalf of a class—the “Indiana § 1962(b) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Indiana; and (3) repaid any amount on the loans.

       Plaintiff Nolte is a member of this subclass.



                                                58
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 59 of 74 PageID# 546




       291.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Falash brings

this action for herself and on behalf of a class—the “Wisconsin § 1962(a) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Wisconsin; and (3) repaid any amount on the
       loans.

       Plaintiff Falash is a member of this subclass.

       292.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Tucker brings

this action for himself and on behalf of a class—the “California § 1962(a) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from California; and (3) repaid any amount on the
       loans.

       Plaintiff Tucker is a member of this subclass.

       293.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Murphy

brings this action for herself and on behalf of a class—the “Ohio § 1962(a) Subclass”— defined

as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Ohio; and (3) repaid any amount on the loans.

       Plaintiff Murphy is a member of this subclass.

       294.   Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

allege that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Golden Valley, Silver Cloud, Mountain Summit, and Majestic Lake, and the class members

may be notified of the pendency of this action by published and/or mailed notice.

       295.   Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no


                                                59
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 60 of 74 PageID# 547




factual or legal issues that differ between the putative class members. These questions include:

(1) whether the interest rates used on loans violate each state’s usury laws; (2) whether the choice-

of-law provision used in their loan agreements and selecting the tribal law are enforceable;

(3) whether the relationship between the various participants constitutes an enterprise as defined

under RICO; (4) whether Defendants reinvested in the enterprise; and (5) whether the amounts

paid by each consumer are recoverable against Defendants. These questions predominate over the

questions affecting only individual class members.

         296.   Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

         297.   Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives of the putative class because their interests coincide with, and are not antagonistic

to, the interests of the members of the class they seek to represent; they have retained counsel

competent and experienced in such litigation; and they have and intend to continue to prosecute

the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of

the members of the class. Neither Plaintiffs nor their counsel have any interests which might cause

them to not vigorously pursue this action.

         298.   As alleged above, Defendants are an association-in-fact enterprise who are

associated together for the common purpose of making, collecting, and profiting off the illegal

loans.

         299.   Alternatively, Golden Valley, Silver Cloud, Mountain Summit, Majestic Lake, and

National Performance Agency were enterprises as defined in 18 U.S.C. § 1691(4).




                                                  60
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 61 of 74 PageID# 548




       300.    All of the loans made to Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona,

Arkansas, California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,

Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland, Michigan,

Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina,

South Dakota, Tennessee, Texas, Vermont, Virginia, Washington, West Virginia, or Wyoming

included an interest rate far in excess of twice the enforceable rate under each consumer’s

respective state law.

       301.    As alleged above, Defendants violated § 1962(a) of RICO in three separate and

distinct ways—any one of which independently suffices.

       302.    First, Defendants violated § 1962(a) of RICO by receiving income derived from the

unlawful collection of debt through the Delaware entities and using and investing such income in

the establishment and operation of the tribal lending scheme.

       303.    Second, Defendants violated § 1962(a) of RICO by receiving income derived from

the unlawful collection of debt through the tribal lending scheme and reinvesting that income into

the tribal lending scheme in order to increase the size of the scheme.

       304.    Third, Defendants violated § 1962(a) of RICO by using their income and proceeds

to restructure usurious lending scheme and through the creation of the promissory notes entitling

them to $64 million of future revenues of the tribal lending entities.

       305.    Plaintiffs and the class members were injured as a result of Defendants’ violations

of 18 U.S.C. § 1962(a) because the loans would not have been made but for Defendants’

investment and participation in the enterprise.




                                                  61
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 62 of 74 PageID# 549




       306.    As a result of Defendants’ violations, Defendants are jointly and severally liable to

Plaintiffs and the putative class members for their actual damages, treble damages, costs, and

attorney’s fees pursuant to 18 U.S.C. § 1964(c).

                                  COUNT FOUR:
                        VIOLATIONS OF RICO, 18 U.S.C. § 1962(c)
                      (CLASS CLAIM AGAINST ALL DEFENDANTS)

       307.    Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

       308.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action for themselves and on behalf of a class—the “§ 1962(c) Class”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona, Arkansas,
       California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,
       Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland,
       Michigan, Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New
       Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
       Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas,
       Vermont, Virginia, Washington, West Virginia, or Wyoming; and (3) repaid any
       amount on the loans.

       Plaintiffs are members of the § 1962(c) Class.

       309.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs Bumbray,

Hengle, Blackburn and Rose bring this action for themselves and on behalf of a class—the

“Virginia § 1962(c) Subclass”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, and (3) repaid any amount on the loans.

       Plaintiffs Bumbray, Hengle, Blackburn, and Rose are members of this subclass.

       310.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Nolte brings

this action for herself and on behalf of a class—the “Indiana § 1962(c) Subclass”— defined as:



                                                62
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 63 of 74 PageID# 550




       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Indiana; and (3) repaid any amount on the loans.

       Plaintiff Nolte is a member of this subclass.

       311.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Falash brings

this action for herself and on behalf of a class—the “Wisconsin § 1962(c) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Wisconsin; and (3) repaid any amount on the
       loans.

       Plaintiff Falash is a member of this subclass.

       312.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Tucker brings

this action for himself and on behalf of a class—the “California § 1962(c) Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from California; and (3) repaid any amount on the
       loans.

       Plaintiff Tucker is a member of this subclass.

       313.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Murphy

brings this action for herself and on behalf of a class—the “Ohio § 1962(c) Subclass”— defined

as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Ohio; and (3) repaid any amount on the loans.

       Plaintiff Murphy is a member of this subclass.

       314.   Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

allege that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained




                                                63
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 64 of 74 PageID# 551




by Golden Valley, Silver Cloud, Mountain Summit, and Majestic Lake, and the class members

may be notified of the pendency of this action by published and/or mailed notice.

       315.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions include:

(1) whether the interest rates used on loans violate each state’s usury laws; (2) whether the choice-

of-law provision used in their loan agreements and selecting the tribal law are enforceable;

(3) whether the relationship between the various participants constitutes an enterprise as defined

under RICO; (4) whether Defendants knew of and facilitate the conspiracy to collect the loans;

and (5) whether the amounts paid by each consumer are recoverable against Defendants. These

questions predominate over the questions affecting only individual class members.

       316.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

       317.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives of the putative class because their interests coincide with, and are not antagonistic

to, the interests of the members of the class they seek to represent; they have retained counsel

competent and experienced in such litigation; and they have and intend to continue to prosecute

the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of

the members of the class. Neither Plaintiffs nor their counsel have any interests which might cause

them to not vigorously pursue this action.

       318.    As alleged above, Defendants are an association-in-fact enterprise who are

associated together for the common purpose of making, collecting, and profiting off the illegal



                                                  64
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 65 of 74 PageID# 552




loans. Alternatively, Golden Valley, Silver Cloud, Mountain Summit, Majestic Lake, and NPA

were enterprises as defined in 18 U.S.C. § 1691(4).

        319.    All of the loans made to Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona,

Arkansas, California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,

Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland, Michigan,

Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina,

South Dakota, Tennessee, Texas, Vermont, Virginia, Washington, West Virginia, or Wyoming

included an interest rate far in excess of twice the enforceable rate under each consumer’s

respective state law.

        320.    As alleged above, Defendants participated in the operation of the enterprise, which

existed for the purpose of collection of unlawful debt. Among other things and as detailed above,

Defendants helped design, implement and fund the tribal lending scheme through their ownership

and control of NPA and its affiliates, which developed the tribal lending scheme at the heart of

this case. Further, Defendants conducted the affairs of the enterprise by altering the business model

in response to growing legal pressures. In addition, Defendants received quarterly updates

regarding the scheme and reviewed and approved key business decisions related to NPA and its

instrumental involvement in the lending scheme.

        321.    Plaintiffs and the class members were injured as a result of Defendants’ violations

of 18 U.S.C. § 1962(c) because the loans would not have been made but for Defendants’

participation in the enterprise.




                                                 65
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 66 of 74 PageID# 553




       322.    As a result of Defendants’ violations, Defendants are jointly and severally liable to

Plaintiffs and the putative class members for their actual damages, treble damages, costs, and

attorney’s fees pursuant to 18 U.S.C. § 1964(c).

                                  COUNT FIVE:
                              UNJUST ENRICHMENT
                     (CLASS CLAIM AGAINST ALL DEFENDANTS)

       323.    Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

       324.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action for themselves and on behalf of a class—the “Unjust Enrichment Class”—initially defined

as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona, Arkansas,
       California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,
       Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland,
       Michigan, Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New
       Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
       Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas,
       Vermont, Virginia, Washington, West Virginia, or Wyoming; and (3) repaid any
       amount on the loans.

       Plaintiffs are members of the § 1962(c) Class.

       325.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs Bumbray,

Hengle, Blackburn and Rose bring this action for themselves and on behalf of a class—the

“Virginia Unjust Enrichment Subclass”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, and (3) repaid any amount on the loans.

       Plaintiffs Bumbray, Hengle, Blackburn, and Rose are members of this subclass.




                                                66
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 67 of 74 PageID# 554




       326.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Nolte brings

this action for herself and on behalf of a class—the “Indiana Unjust Enrichment Subclass”—

defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Indiana; and (3) repaid any amount on the loans.

       Plaintiff Nolte is a member of this subclass.

       327.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Falash brings

this action for herself and on behalf of a class—the “Wisconsin Unjust Enrichment Subclass”—

defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Wisconsin; and (3) repaid any amount on the
       loans.

       Plaintiff Falash is a member of this subclass.

       328.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Tucker brings

this action for himself and on behalf of a class—the “California Unjust Enrichment Subclass”—

defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from California; and (3) repaid any amount on the
       loans.

       Plaintiff Tucker is a member of this subclass.

       329.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Murphy

brings this action for herself and on behalf of a class—the “Ohio Unjust Enrichment Subclass”—

defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Ohio; and (3) repaid any amount on the loans.


                                                67
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 68 of 74 PageID# 555




       Plaintiff Murphy is a member of this subclass.

       330.    Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

allege that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Golden Valley, Silver Cloud, Mountain Summit, and Majestic Lake, and the class members

may be notified of the pendency of this action by published and/or mailed notice.

       331.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions include:

(1) whether the interest rates used on loans violate each state’s usury laws; (2) whether the choice-

of-law provision used in their loan agreements and selecting the tribal law are enforceable;

(3) whether Plaintiffs and the class members conferred a benefit on Defendants; (4) whether

Defendants knew or should have known of the benefit; (5) whether Defendants retained an unjust

benefit because the loan was void; and (6) what is the proper recovery for Plaintiffs and the class

members against each of Defendants.

       332.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

       333.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives of the putative class because their interests coincide with, and are not antagonistic

to, the interests of the members of the class they seek to represent; they have retained counsel

competent and experienced in such litigation; and they have and intend to continue to prosecute

the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of




                                                  68
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 69 of 74 PageID# 556




the members of the class. Neither Plaintiffs nor their counsel have any interests which might cause

them to not vigorously pursue this action.

         334.   As detailed above, all loans to Virginia, Indiana, Wisconsin, Alabama, Alaska,

Arizona, Arkansas, California, Colorado, Connecticut, District of Columbia, Florida, Georgia,

Hawaii, Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland, Michigan,

Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina,

South Dakota, Tennessee, Texas, Vermont, Virginia, Washington, West Virginia, or Wyoming

were unenforceable.

         335.   Plaintiffs and the class members conferred a benefit on Defendants when they

repaid the void loans; Defendants knew or should have known of the benefits; and Defendants

have been unjustly enriched through their receipt of any amounts in connection with the unlawful

loans.

         336.   Accordingly, on behalf of themselves and the class defined above, Plaintiffs seek

to recover from Defendants, jointly and severally, all amounts repaid on any loans with Golden

Valley, Silver Cloud, Mountain Summit, and Majestic Lake.

                                    COUNT SIX:
                            COMMON LAW CONSPIRACY
                      (CLASS CLAIM AGAINST ALL DEFENDANTS)

         337.   Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

at length herein.

         338.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action for themselves and on behalf of a class—the “Common Law Conspiracy Class”—initially

defined as:



                                                 69
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 70 of 74 PageID# 557




       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, Indiana, Wisconsin, Alabama, Alaska, Arizona, Arkansas,
       California, Colorado, Connecticut, District of Columbia, Florida, Georgia, Hawaii,
       Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland,
       Michigan, Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New
       Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
       Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas,
       Vermont, Virginia, Washington, West Virginia, or Wyoming; and (3) repaid any
       amount on the loans.

       Plaintiffs are members of the § 1962(c) Class.

       339.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs Bumbray,

Hengle, Blackburn and Rose bring this action for themselves and on behalf of a class—the

“Common Law Conspiracy Subclass”—initially defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Virginia, and (3) repaid any amount on the loans.

       Plaintiffs Bumbray, Hengle, Blackburn, and Rose are members of this subclass.

       340.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Nolte brings

this action for herself and on behalf of a class—the “Common Law Conspiracy Subclass”—

defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Majestic Lake, or prior to February 1, 2021, with Mountain Summit;
       (2) from Indiana; and (3) repaid any amount on the loans.

       Plaintiff Nolte is a member of this subclass.

       341.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Falash brings

this action for herself and on behalf of a class—the “Common Law Conspiracy Subclass”—

defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Wisconsin; and (3) repaid any amount on the
       loans.


                                                70
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 71 of 74 PageID# 558




       Plaintiff Falash is a member of this subclass.

       342.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Tucker brings

this action for himself and on behalf of a class—the “California Common Law Conspiracy

Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from California; and (3) repaid any amount on the
       loans.

       Plaintiff Tucker is a member of this subclass.

       343.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Murphy

brings this action for herself and on behalf of a class—the “Ohio Common Law Conspiracy

Subclass”— defined as:

       All natural persons who: (1) entered into a loan agreement with Golden Valley,
       Silver Cloud, Mountain Summit and/or Majestic Lake, or prior to February 1, 2021,
       with Mountain Summit; (2) from Ohio; and (3) repaid any amount on the loans.

       Plaintiff Murphy is a member of this subclass.

       344.    Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

allege that the class members are so numerous that joinder of all is impractical. The names and

addresses of the class members are identifiable through the internal business records maintained

by Golden Valley, Silver Cloud, Mountain Summit, and Majestic Lake, and the class members

may be notified of the pendency of this action by published and/or mailed notice.

       345.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

Common questions of law and fact exist as to all members of the putative class, and there are no

factual or legal issues that differ between the putative class members. These questions include:

(1) whether the interest rates used on loans violate each state’s usury laws; (2) whether the choice-

of-law provision used in their loan agreements and selecting the tribal law are enforceable;



                                                 71
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 72 of 74 PageID# 559




(3) whether Defendants combined together or with others to accomplish an unlawful purpose; (4)

whether at least one member of the conspiracy committed an unlawful act; (5) whether collection

of a usurious and unenforceable loan caused injuries to Plaintiffs and the class members; and (6)

what is the proper recovery for Plaintiffs and the class members against each of Defendants.

       346.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

action as the other members of the putative class. All are based on the same facts and legal theories.

       347.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives of the putative class because their interests coincide with, and are not antagonistic

to, the interests of the members of the class they seek to represent; they have retained counsel

competent and experienced in such litigation; and they have and intend to continue to prosecute

the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of

the members of the class. Neither Plaintiffs nor their counsel have any interests which might cause

them to not vigorously pursue this action.

       348.    As detailed above, all loans to Virginia, Indiana, Wisconsin, Alabama, Alaska,

Arizona, Arkansas, California, Colorado, Connecticut, District of Columbia, Florida, Georgia,

Hawaii, Idaho, Illinois, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Maryland, Michigan,

Minnesota, Mississippi, Montana, Nebraska, New Hampshire, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina,

South Dakota, Tennessee, Texas, Vermont, Virginia, Washington, West Virginia, or Wyoming

were unenforceable.

       349.    As alleged above, Defendants violated state common law conspiracy prohibitions

by joining together through a series of agreements to accomplish the making, collection, and



                                                  72
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 73 of 74 PageID# 560




profiting from the blatantly illegal usurious loans. Among others, these agreements include the

original agreements related to the origination, funding, and servicing of the loans, as well as the

merger agreements designed to shield the non-tribal outsiders from liability and facilitate the

continued illegal lending activities through the promissory notes and related documents.

           350.   Plaintiffs and the class members were injured as a result of Defendants’ violations

because they repaid amounts arising from the unlawful conspiracy.

           351.   As a result of Defendants’ violations, Defendants are jointly and severally liable to

Plaintiffs and the putative class members for their actual damages, treble damages, costs, and

attorney’s fees.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that the Court enter judgment against

Defendants as follows:

           A.     An Order certifying the proposed Classes under Fed. R. Civ. P. 23 (b)(3) and

appointing Plaintiffs as class representatives and their counsel as class counsel, as soon as

practicable;

           B.     An Order declaring that Defendants are financially responsible for notifying class

members of the pendency of this suit;

           C.     An Order declaring that Defendants committed the violations of law alleged herein;

           D.     An Order providing for any and all injunctive relief the Court deems appropriate;

           E.     An Order awarding monetary damages, including but not limited to any

compensatory, incidental, or consequential damages in an amount to be determined by the Court

or jury;

           F.     An Order awarding treble damages in accordance with proof and in an amount



                                                   73
Case 3:22-cv-00146-DJN Document 79 Filed 09/02/22 Page 74 of 74 PageID# 561




consistent with applicable precedent;

        G.     An Order awarding interest at the maximum allowable legal rate on the foregoing

sums;

        H.     An Order awarding Plaintiffs their reasonable costs and expenses of suit, including

attorneys’ fees; and

        I.     Such further relief as this Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury.


                                              Respectfully submitted,
                                              PLAINTIFFS, individually and on behalf of all
                                              others similarly situated

                                              By: /s/
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                                                 74
